  Case
Case    9:18-cv-80176-BB Document
     9:18-cv-80176-BB     Document599-2
                                   582-2 Entered
                                         Entered on
                                                 on FLSD
                                                    FLSDDocket
                                                         Docket06/15/2020
                                                                06/26/2020Page 1 of1 84
                                                                            Page     of 84
          DONALD JOSEPH LYNAM               1                    April 2, 2020




      1
                           IN THE UNITED STATES DISTRICT COURT
      2                       SOUTHERN DISTRICT OF FLORIDA
                                   ~~~~~~~~~~~~~~~~~~~~
      3

      4
              IRA KLEIMAN, as the personal    ) CASE NO.:
      5       representative of the Estate    )
              of David Kleiman, and W&K Info  ) 9:18-cv-8016-BB/BR
      6       Defense Research, LLC           )
                                              )
      7                    Plaintiffs,        )
                                              )
      8                                       )
              v.                              )
      9                                       )
                                              )
     10       CRAIG WRIGHT                    )
                                              )
     11                    Defendant.         )
              _______________________________ )
     12

     13
                     VIDEOTAPED DEPOSITION OF DONALD JOSEPH LYNAM
     14

     15
              ON:           Thursday, April 2, 2020
     16
              AT:           9:01am (Australian Eastern Daylight Savings
     17                             Time)

     18
              TAKEN AT:     Epiq
     19                     Level 4, 190 Queen Street
                            Melbourne VIC 3000
     20

     21       COURT REPORTER:      Karen Wilsmore

     22       Defendant's Designations
     23       Plaintiffs' Objections
              Plaintiffs' Counters
     24

     25



                                      Epiq
                 Level 4, 190 Queen Street, Melbourne, VIC 3000
                          Phone: Int + 61-3-8628-5555
  Case
Case    9:18-cv-80176-BB Document
     9:18-cv-80176-BB     Document599-2
                                   582-2 Entered
                                         Entered on
                                                 on FLSD
                                                    FLSDDocket
                                                         Docket06/15/2020
                                                                06/26/2020Page 2 of2 84
                                                                            Page     of 84
          DONALD JOSEPH LYNAM               2                    April 2, 2020




      1                            A-P-P-E-A-R-A-N-C-E-S

      2       ON BEHALF OF THE PLAINTIFFS:

      3                BOIES SCHILLER FLEXNER LLP
                       100 SE 2ND STREET, SUITE 2800
      4                MIAMI, FLORIDA 33131
                       PH: +1 305 539-8400
      5
              BY:      MR. ANDREW S. BRENNER
      6

      7       ON BEHALF OF THE DEFENDANT:

      8                RIVERO MESTRE LLP
                       2525 PONCE DE LEON BOULEVARD,
      9                SUITE 1000,
                       MIAMI, FLORIDA 33134
     10                +1 305 445-2500

     11       BY:      MS. AMANDA McGOVERN

     12

     13
              ALSO PRESENT:
     14
                       (IN AUSTRALIA)
     15                Mr Wayne Matthews, Videographer
                       Mr Patrick Sexton (Solicitor) Piper Alderman
     16

     17

     18

     19

     20

     21

     22

     23

     24

     25
  Case
Case    9:18-cv-80176-BB Document
     9:18-cv-80176-BB     Document599-2
                                   582-2 Entered
                                         Entered on
                                                 on FLSD
                                                    FLSDDocket
                                                         Docket06/15/2020
                                                                06/26/2020Page 3 of3 84
                                                                            Page     of 84
          DONALD JOSEPH LYNAM               3                    April 2, 2020




      1                                 WITNESS INDEX

      2       Deponent                  Examined by             Page

      3       Donald Joseph Lynam       Ms. Amanda McGovern       5
                                        Mr. Andrew Brenner       40
      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 4 of4 84
                                                                             Page     of 84
               DONALD JOSEPH LYNAM            4                   April 2, 2020




9:01:00    1          THE VIDEOGRAPHER:    This is videotape number 1 in

9:01:03    2      the deposition of Don Lynam in the matter of Ira Kleiman,

9:01:08    3      as the personal representative of the estate of David

9:01:12    4      Kleiman, and W&K Info Defense Research LLC versus Craig

9:01:17    5      Wright, in the United States District Court Southern

9:01:21    6      District of Florida and the case number is 18-cv-80176.

9:01:29    7      Today's date is the 2nd of April 2020 and the time on the

9:01:33    8      video monitor is 9:01 a.m.

9:01:40    9                   This deposition is taking place at level 4,

9:01:42   10      190 Queen Street in Melbourne, Australia.      The

9:01:46   11      videographer today is Wayne Matthews, from Epiq.        Would

9:01:50   12      counsel please identify yourselves and state whom you

9:01:53   13      represent.

9:01:54   14          MS. McGOVERN:     Good morning.   My name is Amanda

9:01:57   15      McGovern, with the law firm of Rivero Mestre, and we

9:02:01   16      represent Dr. Craig Steven Wright.

9:02:03   17          MR. BRENNER:    Good morning.     My name is Andrew

9:02:07   18      Brenner from the law firm of Boies Schiller Flexner and I

9:02:10   19      represent the plaintiffs.

9:02:10   20          THE VIDEOGRAPHER:     Also in the room in Australia?

9:02:13   21          MR. SEXTON:     Patrick Sexton, from Piper Alderman.

9:02:16   22          THE VIDEOGRAPHER:     The court reporter today is

9:02:17   23      Karen Wilsmore, from the firm of Epiq.      Would the court

9:02:22   24      reporter please swear in the witness.

9:02:24   25          MR. BRENNER:    Before you swear in the witness, the
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 5 of5 84
                                                                             Page     of 84
               DONALD JOSEPH LYNAM            5                   April 2, 2020




9:02:28    1      gentleman that is there in Australia, are you counsel for

9:02:31    2      the witness or local counsel for the defendant?

9:02:34    3          MR. SEXTON:      Local counsel for the defendant.

9:02:38    4          MR. BRENNER:      Thank you, sir.

9:02:44    5                          <DONALD JOSEPH LYNAM,

           6                          having been duly sworn

9:03:04    7                          testified as follows:

9:03:04    8          THE VIDEOGRAPHER:      Proceed, ladies and gentlemen.

           9      EXAMINATION BY MS. McGOVERN:

9:03:08   10          Q.      Good morning, Mr. Lynam.    As I've just stated

9:03:10   11      on the record, my name is Amanda McGovern and I'm with

9:03:17   12      the Miami law firm of Rivero Mestre.      We represent

9:03:23   13      Dr. Craig Steven Wright in this litigation.       I'm going to

9:03:25   14      be asking you questions and I ask that to facilitate this

9:03:33   15      process, which appears to be very well facilitated with

9:03:36   16      everyone there in the room, but to facilitate it, if you

9:03:40   17      could please wait for my question to be completely

9:03:42   18      finished, take a very brief pause to allow plaintiff's

9:03:48   19      counsel to object if he wishes and then answer the

9:03:51   20      question.    Does that sound okay to you?

9:03:55   21          A.      Yes.

9:03:58   22          Q.      I would also ask, Mr. Lynam, if you could

9:04:02   23      please answer the questions that I ask solely based upon

9:04:08   24      your personal knowledge of the information I'm asking

9:04:11   25      about and please don't speculate or guess.
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 6 of6 84
                                                                             Page     of 84
               DONALD JOSEPH LYNAM              6                 April 2, 2020




9:04:18    1             A.   Yes.

9:04:18    2             Q.   Is that okay as well?

9:04:19    3             A.   Yes, it is.

9:04:21    4             Q.   Thank you.    Mr. Lynam, have you been deposed

9:04:26    5      before?

9:04:27    6             A.   Never, no.

9:04:30    7             Q.   So this is your first time being deposed, is

           8      that right?

9:04:34    9             A.   That's true.   I keep on the right side of the

9:04:36   10      law.

9:04:40   11             Q.   You've just been administered an oath to swear

9:04:43   12      to tell the truth and I want to make sure that you

9:04:48   13      understand that in this proceeding, that oath that you've

9:04:52   14      taken is exactly the same oath as though you were

9:04:56   15      standing in front of a jury in this case in the southern

9:04:59   16      district of Florida to tell the truth.      Do you understand

9:05:03   17      that, Mr. Lynam?

9:05:05   18             A.   Yes, I do.

9:05:08   19             Q.   And the testimony that you're giving today by

9:05:13   20      video conference, or video-taped conference, is going to

9:05:18   21      be presented to a Miami jury as though you were sitting

9:05:22   22      in the witness box looking at the Miami jury and

9:05:25   23      answering the questions that I ask.      Do you also

9:05:29   24      understand that, Mr. Lynam?

9:05:31   25             A.   Yes.
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 7 of7 84
                                                                             Page     of 84
               DONALD JOSEPH LYNAM             7                  April 2, 2020




9:05:34    1          Q.    Are you familiar with the litigation that is

9:05:38    2      pending that has brought you here today against Dr. Craig

9:05:46    3      Steven Wright by Ira Kleiman, are you familiar with the

9:05:52    4      litigation?

9:05:53    5          A.    I have a superficial understanding of it.

9:05:57    6          Q.    And have you been compelled to come to give

9:06:05    7      this deposition testimony that you're giving today in

9:06:08    8      this case, has there been a compulsory process that has

9:06:15    9      compelled you to come here today?

9:06:16   10          A.    Well, the subpoena says that I am compelled,

9:06:19   11      but I came here quite willingly, hoping to be able to

9:06:24   12      assist.

9:06:27   13          Q.    If there's ever a question that I ask - and I

9:06:31   14      promise I won't take any longer than I need to - please

9:06:35   15      ask me to clarify the question, and I will, before you

9:06:39   16      answer it.    Is that also a fair --

9:06:46   17          A.    Yes.

9:06:46   18          Q.    -- arrangement for this question and answer?

9:06:49   19      Thank you.    Mr. Lynam, have you ever met me in person --

9:06:54   20          A.    No.

9:06:58   21          Q.    -- before today?

9:06:59   22          A.    No.

9:06:59   23          Q.    This is the first time we've met, is that

          24      right?

9:07:02   25          A.    That is correct.
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 8 of8 84
                                                                             Page     of 84
               DONALD JOSEPH LYNAM            8                      April 2, 2020




9:07:03    1          Q.   And before today, have you ever seen me in a

9:07:07    2      video conference of any type or is this the first time

9:07:12    3      that you are seeing me?

9:07:14    4          A.   This is the first time I've seen you.

9:07:18    5          Q.   And have I given you - in connection with your

9:07:23    6      deposition today, have I shared with you any documents

9:07:28    7      and asked you to review them in connection with your

9:07:31    8      deposition?

9:07:32    9          A.   No.

9:07:37   10          Q.   Mr. Lynam, where do you live?

9:07:41   11          A.   I live in Pakenham, Victoria.

9:07:46   12          Q.   Are you married?

9:07:47   13          A.   Yes.

9:07:49   14          Q.   How long have you been married?

9:07:56   15          A.   58 years.

9:07:59   16          Q.   Congratulations.       That is amazing.
                                                                      Relevance
9:08:03   17          A.   Two life sentences.

9:08:06   18          Q.   What is your relationship, if any, to Dr. Craig

9:08:12   19      Ste
                  Steven Wright?

9:08:12   2
          20          A.   I am his uncle.

9:08:18   2
          21          Q.   Are you his mother's brother?

9:08:22   2
          22          A.   Yes.

9:08:23   2
          23          Q.   So you're a maternal uncle?

9:08:26   2
          24          A.   Yes.

9:08:26   2
          25          Q.   Are you older or younger than Dr. Wright's
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 9 of9 84
                                                                             Page     of 84
               DONALD JOSEPH LYNAM           9                    April 2, 2020




9:08:29    1      mother?

9:08:29    2          A.    I am the eldest of the family.

9:08:37    3          Q.    I'd like to ask you a few questions, if I

9:08:40    4      could, about your background and your personal history.

9:08:44    5      Mr. Lynam, could you please tell us a little bit about

9:08:48    6      your background, your professional background?

9:08:55    7          A.    Originally I was in the Air Force.      I served

9:08:58    8      nearly 30 years in the Air Force.     I left the Air Force

9:09:01    9      as a wing commander in the engineer branch.       I served in

9:09:10   10      many positions in Australia, in South-East Asia and I did

9:09:15   11      a tour of exchange in the United States Air Force, at

9:09:21   12      Nellis Air Force Base in Las Vegas.     When I --

9:09:26   13          Q.    You referred to the Air Force - the Australian

9:09:29   14      Air Force.   Is that the Royal Australian Air Force,

9:09:31   15      Mr. Lynam?

9:09:32   16          A.    Yes, the Royal Australian Air Force.

9:09:35   17          Q.    Did you begin your career with the Royal

9:09:40   18      Australian Air Force as a wing commander or did you, as

9:09:44   19      you say, work your way up?

9:09:46   2
          20          A.    I worked my way up.

          21          Q.    What was your original position?

9:09:48   22          A.    I started in 1957.    January '57 I joined.

9:09:56   23          Q.    And when you joined, what was the original

9:09:59   24      position that you assumed with the Royal Australian Air

9:10:03   25      Force?
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 10 10
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM           10                   April 2, 2020




9:10:04    1          A.    I was a trainee.

9:10:14    2          Q.    And from a trainee to a wing commander, what

9:10:17    3      does that entail?   How do you become a wing commander,

9:10:23    4      beginning as a trainee?

9:10:25    5          A.    Doing more things right than you do wrong.

9:10:34    6          Q.    Were you ever recognized in any official way

9:10:38    7      for your work?

9:10:41    8          A.    Yes.   The primary award is the Order of

9:10:47    9      Australia.   I'm a member of the Order of Australia.

9:10:51   10          Q.    Could you tell us what that is, please.

9:10:54   11          A.    Well, that's - Australia has a series of

9:11:01   12      awards.   The highest awards are those within the Order of

9:11:06   13      Australia and they are for doing something of conspicuous

9:11:13   14      good to the community or the organization around you.

9:11:19   15          Q.    Is there a particular focus of recognition in a

9:11:24   16      particular field that you were awarded with the

9:11:31   17      membership of the Order of Australia?

9:11:33   18          A.    Yes.   It was in recognition of original work

9:11:39   19      that I did in information technology in the general area

9:11:43   20      of logistics management.

9:11:51   21          Q.    In the hierarchy of the Royal Australian Air

9:11:55   22      Force, is a wing commander considered a high position?

9:11:59   23          A.    It is a senior officer position.      It's

9:12:02   24      equivalent to lieutenant colonel in the American forces.

9:12:08   25          Q.    Did your work in Australia involve - I believe
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 11 11
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM          11                    April 2, 2020




9:12:14    1      you said this, but to be specific, did your work in

9:12:18    2      Australia involve service overseas?

9:12:21    3          A.   Yes.

9:12:23    4          Q.   Where?

9:12:24    5          A.   In South-East Asia and in the United States.

9:12:33    6          Q.   And with respect to your work in South-East

9:12:37    7      Asia, what did you do?

9:12:40    8          A.   I was there as maintenance support for

9:12:47    9      squadrons of aircraft, and that was in Singapore, Panang

9:12:55   10      and Ubon in Thailand during the Vietnam War.

9:13:01   11          Q.   I believe you mentioned that you also worked

9:13:03   12      with the United States Air Force, is that correct?

9:13:05   13          A.   Yes.   I was on exchange for two and a half

9:13:09   14      years.

9:13:15   15          Q.   And what did you do or what service did you

9:13:18   16      perform in that capacity with the United States Air

9:13:22   17      Force?

9:13:24   18          A.   I held a number of positions.      Do you want me

9:13:28   19      to go through a summary of the main ones?

9:13:32   20          Q.   I would very much, thank you.

9:13:34   21          A.   I started off as the officer in charge of the

9:13:42   22      flight line unit of approximately 328 people, which did

9:13:47   23      all the weapons and avionics maintenance and operational

9:13:55   24      support for 92 F-111A aircraft.    During that period I was

9:14:05   25      elevated, for some period of months, into the maintenance
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 12 12
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM          12                    April 2, 2020




9:14:11    1      supervisor for the whole of the avionics and weapons

9:14:17    2      group, so that meant I also was responsible for the

9:14:22    3      workshop maintenance, and all of that then was a total of

9:14:27    4      750 people who worked for me, and I also was responsible

9:14:33    5      for the four flight simulators as well.      I then - there

9:14:40    6      was what was called Operation Ready Switch at that time

9:14:44    7      and our F-111s went to Mountain Home in Idaho and F-111Fs

9:14:56    8      went to England and from England, a wing of F-4Ds -

9:15:00    9      that's the Phantom aircraft - came to Nellis.       They had

9:15:05   10      to be - people had to be trained to maintain them and

9:15:08   11      they had - that wing had to be regenerated.      I started

9:15:13   12      off as officer in charge of component repair squadron,

9:15:19   13      which was - looked after all the heavy equipment and

9:15:23   14      ground support equipment, metal work, all the heavy

9:15:29   15      tasks, the ones that would appear to be less technical.

9:15:33   16      I then moved from that and I became the commander of the

9:15:41   17      428th aircraft maintenance unit, under the then

9:15:45   18      production-oriented maintenance programme, where I was

9:15:50   19      given a squadron of 24 aircraft, so they sort of belonged

9:15:56   20      to me and I hired them out to the flight crews and so I

9:16:01   21      was responsible for the 24 F-4Ds and their operations and

9:16:08   22      maintenance and approximately 250 maintenance people.

9:16:19   23          Q.   When you completed your work with United States

9:16:24   24      Air Force, did you go back to Australia?

9:16:29   25          A.   Yes.
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 13 13
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM           13                   April 2, 2020




9:16:33    1          Q.     And what did you do when you went back to

9:16:36    2      Australia?    Did you stay in the military at that time?

9:16:42    3          A.     I went into headquarters unit in Melbourne, in

9:16:49    4      what is called support command.    I went through a few

9:16:54    5      positions there, but it was all focused on development of

9:17:00    6      management systems and training other people.       The

9:17:07    7      primary area, and the area in which I earned the Order of

9:17:11    8      Australia, was when I headed a group called the

9:17:14    9      development of management systems and we developed some

9:17:19   10      very good things that got the recognition, and that was a

9:17:23   11      system for configuration management of all weapon systems

9:17:32   12      in the Air Force and it also gave the capability for

9:17:39   13      programme budgeting, which, as I understand, was then a

9:17:46   14      world first and a two star general came out and spent

9:17:50   15      some time looking at that, because the United States Air

9:17:54   16      Force was very interested in that too.      And I also

9:17:59   17      developed a case tool, a computer-aided software

9:18:05   18      engineering tool, which we called Menagerie, which was a

9:18:10   19      mix-up of some of the initials of the people who were in

9:18:15   20      that.    I was the creative author of that and the other

9:18:23   21      support staff supported me and did a lot of the running

9:18:29   22      and one man, Nicholas Jones, he was my code cutter, and

9:18:35   23      he was absolutely marvellous.     He was a fellow very much

9:18:40   24      like Craig Wright, with a brain that is incredible, very

9:18:44   25      few social skills, but he had a magic memory and an
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 14 14
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM          14                    April 2, 2020




9:18:52    1      incredible brain.

9:18:57    2          Q.   Did your work experience with computers

9:19:06    3      continue after that?

9:19:09    4          A.   Yes.   I left the Air Force for no particular

9:19:20    5      good reason - in fact, it got me into a lot of trouble

9:19:23    6      with my wife - but I was going to be posted to Canberra,

9:19:27    7      to the Department of Defence in Canberra, and I felt I

9:19:32    8      didn't want to go, so I joined the Defence Credit Union

9:19:39    9      as the national business development manager and I was

9:19:43   10      there until I got offered a position at the State

9:19:47   11      Electricity Commission and there I went into software

9:19:50   12      development again and I headed a development team of 23

9:20:01   13      designers and code cutters, so I managed all the State

9:20:11   14      Electricity Commissions and we developed - we rebuilt the

9:20:14   15      whole thing, for logistics, supply and transport.

9:20:22   16          Q.   During this period of time in your career,

9:20:32   17      where you went from the Royal Australian Air Force to the

9:20:38   18      United States Air Force, to South-East Asia, to the State

9:20:43   19      Electricity Commission in Victoria, did Dr. Craig Wright

9:20:47   2
          20      know about your work?

9:20:51   2
          21          A.   Yes, he did.   I was given the impression that

9:20:59   2
          22      he held me up as a little bit of a model for his life; he

9:21:08   2
          23      admired me.   That was very flattering, but for no

9:21:16   2
          24      particular reason that I knew, he just held me up as a

9:21:21   2
          25      little bit of an image for him to emulate, but he's a lot



                                                      Hearsay, Speculation
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 15 15
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM           15                   April 2, 2020




9:21:27    1      smarter than I am.

9:21:31    2          Q.   Did he, in some ways, do you believe, or is it

9:21:35    3      your understanding, followed you as a role model?

9:21:44    4          A.   He certainly has said to me a number of times

9:21:46    5      that I was a role model for him and he did go in and join

9:21:53    6      the Air Force and I believe he applied as well to go into

9:21:56    7      the academy and certainly he had all the mental acuity

9:22:07    8      and education that was necessary, but he didn't get into

9:22:12    9      the academy and I understand - and, of course, I haven't

9:22:17   10      seen any documents, I don't know, it's hearsay - I

9:22:21   11      understand that he didn't succeed on the basis of his

9:22:29   12      personality and I think we all know that Craig is not

9:22:36   13      known for his people skills.                           Hearsay
9:22:44   14          Q.   Mr. Lynam, I'd like to ask you about

9:22:49   15      Dr. Wright's relationship with his grandfather and the

9:22:56   16      family influences on Dr. Wright.

9:22:59   17          A.   Okay.

9:23:00   18          Q.   Do you believe or is it your understanding that

9:23:05   19      you have a close relationship and have always had a close

9:23:09   20      relationship with Dr. Wright?

9:23:11   21          A.   Your voice faded there.     Did I have a close

9:23:14   22      relationship with Craig?

9:23:16   23          Q.   Yes.

9:23:19   24          A.   It wasn't terribly close, it wasn't really much

9:23:24   25      closer than you would expect of an uncle, I don't think.
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 16 16
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM             16                   April 2, 2020




9:23:29    1      He was very close to my father, his grandfather, from

9:23:34    2      when he was a very small boy and he used to be cared for

9:23:41    3      by my parents with day care some of the time during

9:23:49    4      school holidays and he used to spend time with my father

9:23:55    5      in his hamshack.    Do you know what that is?

9:24:00    6          Q.   No, I don't.

9:24:04    7          A.   Amateur radio.

9:24:06    8          Q.   What is a hamshack?

9:24:08    9          A.   Amateur radio.      My father was a radio engineer

9:24:11   10      and so he had a whole lot of technical paraphernalia

9:24:15   11      there, which Craig found absolutely intriguing, and he

9:24:22   12      spent all the time he could with my grandfather.        Later

9:24:28   13      on, though, Craig, especially when the internet started,

9:24:36   14      in about the early 90s, Craig started to contact me and

9:24:43   15      my son much more often, but Craig had been down and had

9:24:50   16      stayed with us - yes, I'm sorry, go ahead.

9:24:53   17          MR. BRENNER:     I hate to interrupt - technology -

9:24:55   18      you said when something started, something like

9:24:58   19      "intimate", "inimit".   I didn't know what that word was.

9:25:00   20      I apologize.

9:25:01   21          MS. McGOVERN:     "Internet".

9:25:02   22          MR. BRENNER:     "Internet"?

9:25:04   23          THE DEPONENT:     Yes.

9:25:04   24          MR. BRENNER:     Thank you.    I apologize.

9:25:06   25          THE DEPONENT:     The internet really started up in
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 17 17
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM          17                    April 2, 2020




9:25:11    1      the early 1990s.   It was running before that, but it

9:25:16    2      became - started to become really capable then.         Also,

9:25:22    3      Craig and my son were of the age to be deeply involved in

9:25:27    4      that sort of technology and they were also deeply

9:25:31    5      involved in terms of socializing on the internet as well.

9:25:38    6      So they communicated quite a bit and Craig also

9:25:42    7      communicated regularly with me - not so much on the

9:25:48    8      internet; he would telephone me and send me emails.        As

9:25:53    9      he went along in his life, he would call me up and talk

9:25:57   10      about what he was doing, he would send me papers that he

9:26:04   11      was preparing and writing and he would send them usually

9:26:10   12      in an early form and then in the finished form.         I never

9:26:15   13      really knew whether he wanted me to work as a wordsmith

9:26:19   14      for him and go through and correct his expression and

9:26:28   15      layout, but I was always happy that, by the end time he

9:26:34   16      actually submitted the papers, he got the papers well

9:26:38   17      presented or somebody helped him straighten them out and

9:26:48   18      get the presentation as good as the content.      His

9:26:54   19      continued --

          20      BY MS. McGOVERN:

9:26:56   21          Q.   Mr. Lynam, if I could interrupt you for a

9:26:59   22      second and go back to the grandfather.

9:27:01   23          A.   Yes.

9:27:02   24          Q.   I believe you testified that Dr. Wright was

9:27:04   25      very close to his grandfather, is that right?
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 18 18
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM           18                   April 2, 2020




9:27:09
      9    1          A.   That's certainly correct, and --

      2
9:27:12    2          Q.   In your opinion, based upon your involvement

      8
9:27:18    3      with Dr. Wright and, of course, your relationship with

      3
9:27:23    4      your own father, do you believe that Dr. Wright's

      8
9:27:28    5      grandfather was an important influence on Dr. Wright's

      2
9:27:32    6      life and work?     Speculation, lacks foundation, rele
                                                                    relevance
                                                                       e

      4
9:27:34    7          A.   I think that my father, Craig's grandfather,

      0
9:27:40    8      had a great influence on him.    As I said, as a child he

      4
9:27:44    9      used to go to my parents' house and stay there for child

      0
9:27:50   10      care during school holidays and so on, but my father, he

      6
9:27:56   11      was a radio engineer, he was one of the earliest senior

      8
9:28:08   12      radio engineers in Australia, radio and electronic

      2
9:28:12   13      engineers, and indeed, he was first in a lot of

      7
9:28:17   14      achievements.    He went into the - this is getting to the

      4
9:28:24   15      influence - he went into the Australian Army at the

      0
9:28:30   16      beginning of World War II and he went into the signals

      5
9:28:35   17      division and although he continued to wear the signals

      4
9:28:44   18      badges, he actually belonged to a small intelligence

      9
9:28:49   19      group and they were made up of very few people from

      5
9:28:55   20      British intelligence, United States intelligence and

      9
9:28:59   21      Australian intelligence.    My father also did electronics

      9
9:29:09   22      work during some of the same time and he wrote a thesis

      3
9:29:13   23      which was top secret, and I still never succeeded in

      0
9:29:20   24      getting it released so I could have it, and I think Craig

      4
9:29:24   25      attempted to get it too, but it's all locked up for some
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 19 19
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM            19                  April 2, 2020




9:29:29    1      reason, for the early warning radar along the Queensland

9:29:36    2      coast during the war.    A little - my father went with

9:29:46    3      General McArthur, he was actually on General --

9:29:49    4          Q.   Mr. Lynam, was your - in cryptology?        Relevance

9:29:54    5          A.   Yes, he was an expert in cryptology, spoke

9:29:58    6      multiple languages and he did interrogate high-value

9:30:09    7      prisoners of war - that was in Australia - even though

9:30:19    8      officially at the time those people never came into

9:30:22    9      Australia, but they actually did, into an area called

9:30:26   10      Indooroopilly.     He - as I said, he was on General

9:30:34   11      McArthur's staff and he reported to General McArthur's

9:30:40   12      number 2, and I forget his name.     I think he was a four

9:30:46   13      star general.    But when McArthur went back to the

9:30:53   14      Philippines, when he returned to the Philippines, my

9:30:58   15      father went as part of that headquarters core group and

9:31:03   16      he was also involved in the code breaking for the - in

9:31:12   17      the Coral Sea battle, which was - and that code breaking,

9:31:16   18      a lot of that was instrumental in winning the battle

9:31:20   19      against - the Coral Sea battle against the Japanese.

9:31:28   20          Q.   Is that the Enigma code, Mr. Lynam?       Are you

9:31:32   21      referring to the Enigma code?

9:31:35   22          A.   Now, I don't know what code the Japanese did.

9:31:38   23      However, it was - he had the connections as well with

9:31:45   24      Bletchley Park in the United Kingdom and they had the

9:31:49   25      code-breaking machine that was so famous a movie has been
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 20 20
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM            20                  April 2, 2020




9:31:55    1      brought about it, and I can't remember if that was the

9:31:58    2      Enigma code or not, but anyway, the Japanese codes were

9:32:06    3      broken by them and so that gave the allied side, the

9:32:10    4      Australians and the Americans - mostly Americans.        We

9:32:18    5      didn't have that many ships - but gave them a great

9:32:22    6      advantage to win the war in the Coral Sea.      Now --

9:32:29    7          Q.   Mr. Lynam, did your father bring to his home

9:32:34    8      Japanese influences that Craig - that Dr. Wright would

9:32:42    9      have witnessed or experienced while he was growing up?
                                                                         Speculation
9:32:48   10          A.   Absolutely.    Throughout the time there were Hearsay

9:32:53   11      paintings that my father did in the Philippines, he did

9:32:58   12      some oil paintings, and they were displayed in the house

9:33:01   13      and Craig always admired them because they were done by

9:33:05   14      his grandfather.   Also, down in that hamshack my father

9:33:11   15      kept some of his old souvenirs and one of the things that

9:33:18   16      was there was a carton, a reasonable-sized carton, of

9:33:25   17      occupation money, which he brought back from the

9:33:30   18      Philippines - this is Japanese occupation money for -

9:33:36   19      intended for when they occupied Australia.      Fortunately,

9:33:40   2
          20      they didn't make it, but my father made it back with some

9:33:43   2
          21      of their money, a great deal of the money.      So Craig was

9:33:49   2
          22      able to p
                          play
                             y with that --

9:33:51   23          Q.   Did Dr. --

9:33:53   24          MR. BRENNER:      Hold on.   I think he's in the middle

9:33:56   25      of an answer.
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 21 21
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM             21                 April 2, 2020




9:33:58    1          THE DEPONENT:     Yes.

           2      BY MS. McGOVERN:

           3          Q.   Go ahead.    Sorry.

      8
9:33:58    4          A.   Craig was able to play with that, as well as

      0
9:34:00    5      some other odds and ends that my father had down there in

      5
9:34:05    6      his shack.

      9
9:34:09    7          Q.                d Dr. Wright
                           Mr. Lynam, did        g   show an interest in

      2
9:34:12    8      the Japanese culture?        Relevance, speculation, hearsay

9:34:16    9          MR. BRENNER:     Object to the form.

9:34:17   10          THE DEPONENT:     He certainly did.    That interest

9:34:21   11      developed with my father talking about the Japanese and

9:34:25   12      their culture, but after 1975, when the Secrets Act

9:34:34   13      allowed my father to talk, because he had a complete

9:34:40   14      security close in on him for 30 years after the war and,

9:34:47   15      in fact, he used to have surveillance, right up until

9:34:53   16      1975, outside my parents' house.     There would often be -

9:34:59   17      very often be a car out there with two people just

9:35:04   18      observing, to make sure that the wrong people were not

9:35:09   19      coming in and going out.      I have no idea what they

9:35:13   20      feared, but nevertheless, he was tightly contained.

9:35:18   21      After that, he talked a lot more freely with Craig and he

9:35:22   22      talked a lot more freely about cryptology and all his

9:35:28   23      mathematics and so on and he actually did introduce Craig

9:35:35   24      to a - who became a professor of mathematics in the

9:35:44   25      United Kingdom, and he was one of the people at
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 22 22
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM          22                    April 2, 2020




9:35:48    1      Bletchley Park who developed that code breaking and my

9:35:53    2      father had kept the contact all those years.      Craig was

9:36:00    3      thrilled to be able to contact and speak to this

9:36:05    4      professor and he was thrilled when he said, "Yeah, I

9:36:10    5      absolutely know Ronald Lynam and we did great work

9:36:19    6        g
                  together."   So that influenced him --

9:36:20    7          Q.   Do you recall the professor's name, Mr. Lynam,

9:36:24    8      do you recall the professor's name?

9:36:26    9          A.   I certainly don't, but if you were to ask Craig

9:36:28   10      that, I'm sure he probably would, because he was very

9:36:33   11      impressed by the man.

9:36:36   12          Q.   Would you describe Dr. Wright as having the

9:36:41   13      intellectual capability of speaking on an equal level

9:36:45   14      with his grandfather about these types
                                                    yp          g , like
                                                         of things,
                                                 Speculation, foundation,
9:36:49   15      mathematics and cryptology? hearsay

9:36:52   16          A.   Yes.   In fact, my father had trouble - he was a

9:36:57   17      little bit like Craig, actually, and very - he wasn't

9:37:06   18      forward socially at all, he was very, very much almost a

9:37:12   19      machine himself, with his brain ticking over with all of

9:37:18   20      his plans and the things he wanted to build and do and so

9:37:22   21      on, but with Craig, he could sit down and they would open

9:37:29   22      up and talk to one another for hours, and this also was

9:37:36   23      after Craig was an adult, and Craig, I think, was greatly

9:37:43   24      enthralled by all the discussion about security, spy-type

9:37:52   25      work, cryptology and all of that that happens behind the
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 23 23
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM            23                  April 2, 2020




9:38:04    1      scenes, but it wasn't until 1975 that my father could

9:38:09    2      talk about it and he really didn't tell me anything about

9:38:11    3      it either, except I would remember at times he would

9:38:17    4      point out the surveillance he was having.      I remember

9:38:24    5      even going to a hotel and having a couple of beers at the

9:38:28    6      bar and he'd point out, "That guy there, he is keeping an

9:38:33    7      eye on us", and so on.     But the training my father had

9:38:37    8      was absolutely incredible, he could do marvellous things,

9:38:41    9      and this greatly impressed Craig and they enjoyed talking

9:38:48   10      about it, often to the great annoyance of my mother, who

9:38:56   11      had great resistance to talking about anything that had

9:39:01   12      connections to the Japanese or talking about topics -

9:39:08   13      highly technical topics that she had no understanding of

9:39:12   14      whatsoever.    So she used to express her disapproval very

9:39:17   15      often.

9:39:20   16          Q.   And did Dr. Wright, to your knowledge and

9:39:24   17      understanding, in fact pursue his interest in

9:39:35   18      mathematics, cryptology and security, internet security

9:39:48   19      related fields of interest?       speculation, foundation

9:39:50   2
          20          A.   Well, yes, it seems to me that he became quite

9:39:55   2
          21      obsessed down that path.    Cryptology was a core part of

9:39:59   2
          22      it and, of course, in order to do that, you've got to

9:40:04   2
          23      learn an awful lot about some of the disciplines of

9:40:07   2
          24      security and a very, very deep level of quite esoteric

9:40:13   2
          25      mathematics.    But Craig got many, many cryptology
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 24 24
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM           24                   April 2, 2020




9:40:26    1      recognitions and qualifications, to the extent that I

9:40:35    2      believe he was one of the top three in the world and that

9:40:43    3      was in an organization, a global organization, and I just

9:40:48    4      cannot remember what it was called, but it had several

9:40:52    5      initials by which it was generally known, and Craig

9:40:58    6      became the CEO of all the Oceania area of the world for

9:41:12    7      that organization.   He went - he trained defense forces,

9:41:22    8      he trained the police, including the New South Wales

9:41:25    9      police in New South Wales - yes, in New South Wales, in

9:41:36   10      security, internet security and cryptography, I believe.

9:41:43   11          Q.   Mr. Lynam, are you familiar with anything that

9:41:46   12      Dr. Wright developed involving token systems?

9:41:53   13          A.   With tokens?

9:41:54   14          MR. BRENNER:     "Token systems" did you say?

9:42:00   15          MS. McGOVERN:     Token systems.

9:42:03   16          THE DEPONENT:     Yes, yes.   He did work --

          17      BY MS. McGOVERN:

9:42:09   18          Q.   Can you tell us about that, please?

9:42:10   19          A.   Yes.   He did work for organizations like - I

9:42:15   20      think Centrebet it was called, but I think that was

9:42:18   21      security rather than tokens, but for Lasseters Casino he

9:42:27   22      did develop what I understand to be the world's first

9:42:33   23      token system enabling global gambling, internet gambling,
                                                                  gambling,

9:42:44   24      using all Fiat currencies, all international currencies,

9:42:52   25      so basically doing the same type of thing as Bitcoin, a


                                          Speculation, foundation (last
                                          sentence only as to both)
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 25 25
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM               25               April 2, 2020




9:42:56    1      universal token system which Lasseters Casino could use,

9:43:05    2      so that people from anywhere in the world could come in,

9:43:09    3      buy their tokens and gamble and it was directly

9:43:13    4      translatable back into any other Fiat currency.       So that,

9:43:21    5      I believe, was the precursor of Bitcoin.

9:43:25    6          Q.     Do you recall when that was?    Do you recall the

9:43:27    7      year that Dr. Wright created this first system --

9:43:44    8          A.     I think --

9:43:44    9          MR. BRENNER:     Before you start, I'll object to that

9:43:46   10      question, to the form of that last question, to the

9:43:49   11      extent that's what he's answering.     I think you should

9:43:53   12      probably ask another question so we get a clear record.

9:43:56   13          MS. McGOVERN:       Yep.

9:44:00   14      BY MS. McGOVERN:

9:44:05   15          Q.     Dr. Lynam, do you recall the year in which

9:44:08   16      Dr. Wright invented the first token system enabling the

9:44:17   17      multi-currency casino gambling that you've just testified

9:44:22   18      about, do you recall when that --

9:44:25   19          MR. BRENNER:     Object to the form.

9:44:27   20          THE DEPONENT:       To the best of my recollection, that

9:44:29   21      is 2007.

9:44:30   22      BY MS. McGOVERN:

9:44:36   23          Q.     Dr. Lynam, up until 2007, when Dr. Wright

9:44:43   24      invented this token system that you just referred to and

9:44:47   25      throughout what you've described as his development in
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 26 26
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM              26                April 2, 2020




9:44:50    1      his life, did you ever hear Dr. Wright refer to an

9:44:55    2      individual named David Kleiman?

9:44:59    3            MR. BRENNER:       Object to the form.

9:45:00    4            THE DEPONENT:       No, I did not.

9:45:06    5      BY MS. McGOVERN:

9:45:06    6            Q.    Are you familiar with a paper that has been -

9:45:15    7      has become known as the white paper?

9:45:20    8            A.    The Bitcoin white paper?

9:45:23    9            Q.    Yes.   Are you familiar with the Bitcoin white

9:45:28   10      paper, Mr. Lynam?

9:45:29   11            A.    Yes, I am.    I received the advance and pretty

9:45:37   12      rough copy of it in 2008.       I think it was probably

9:45:47   13      mid-2008.    Craig sent me a copy for my review, but it was

9:45:55   14      far too technical for me and also was poorly written, but

9:46:01   15      I didn't want to offend him by saying I'd go in and start

9:46:05   16      correcting his structure in English, but I probably would

9:46:10   17      have because sometimes I'm cheeky enough to do that, but

9:46:14   18      it was way above me technically with a lot of what was in

9:46:19   19      it.

9:46:23   20            Q.    When Dr. Wright provided you with the - what I

9:46:27   21      believe you referred to as sort of a rough draft of the

9:46:31   22      Bitcoin white paper --

9:46:32   23            A.    Yes.

9:46:34   24            Q.    -- what was your understanding of what the

9:46:36   25      Bitcoin white paper was about?
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 27 27
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM            27                  April 2, 2020




9:46:40    1          A.   Well, it wasn't called the Bitcoin white paper

9:46:43    2      then, I'm pretty certain it did not have such a heading,

9:46:51    3      and I think the determination of the actual name was

9:46:57    4      still floating at the point I got the white paper, but it

9:47:04    5      was clearly to be a digital monetary system and it is

9:47:15    6      very difficult for me to remember back that far as to

9:47:20    7      what was postulated as possible names for the coin, but I

9:47:28    8      don't think the paper was headed "Bitcoin".      But I have

9:47:38    9      no doubt in my mind that that was the precursor because

9:47:41   10      it had the same content as the paper that came out, or

9:47:45   11      very similar content.

9:47:48   12          Q.   What was - with respect to the digital currency

9:47:57   13      that you just testified to --

9:48:01   14          A.   Yes.

9:48:02   15          Q.   -- was it your understanding that Dr. Wright

9:48:04   16      created the digital currency system that you just

9:48:09   17      testified to?

9:48:10   18          MR. BRENNER:    Object to the form.

9:48:12   19          THE DEPONENT:    Yes.    I thought it was a natural

9:48:16   20      flow-on from some of the work that he'd been doing over

9:48:21   21      the years, the mathematics and the cryptography, and he

9:48:27   22      had been playing around with other digital currency

9:48:31   23      systems which existed earlier than that and the fact he

9:48:37   24      was working with banks and large accounting firms and so

9:48:42   25      on as well I think also prompted him to think down those
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 28 28
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM             28                 April 2, 2020




9:48:46    1      same lines, and then it flowed on directly from the

9:48:54    2      Lasseters token system, but I never saw any documentation

9:48:59    3      on the Lasseters token system, he just wrote to me about

9:49:04    4      it or told me about it and I took the flow-on from that

9:49:09    5      directly to the - what we now call the Bitcoin paper, to

9:49:16    6      be a direct flow-on, and there wasn't a big gap in time,

9:49:22    7      anyway, a terribly big gap in time.

9:49:25    8          Q.    That was my next question, Mr. Lynam.      When you

9:49:27    9      received the white paper in rough form and when

9:49:33   1
          10      Dr. Wright - you testified your understanding was that

9:49:37   1
          11      Dr. Wright had created a digital currency system?

9:49:41   1
          12          A.    Yes.

9:49:42   1
          13          Q.    Was this something that surprised you about

9:49:44   1
          14      Dr. Wright?   Did it appear to sort of come out of the

9:49:48   1
          15      blue?

9:49:49   16          MR. BRENNER:       Object to the form.

9:49:53   17      BY MS. McGOVERN:

9:49:53   18          Q.    You can answer.

9:49:54   19          A.    You're talking about the fact that the paper

9:49:58   20      arrived there?      No, I wasn't terribly surprised because

9:50:06   21      it seemed to me to be just simply a continuation of his

9:50:12   22      interest in that topic that led from the Lasseters token

9:50:17   23      system.   What --

9:50:20   24          Q.    Mr. Lynam --

9:50:25   25          A.    Yes - I'm sorry.
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 29 29
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM           29                   April 2, 2020

                                                    Hearsay

9:50:25    1          Q.    I'm sorry, go ahead.

9:50:26    2          A.    What did surprise me was later on, when it came

9:50:30    3      to the point he said he was planning actually to do it,

9:50:34    4      to create the Bitcoin and he was going to then publish it

9:50:47    5      as - with a pseudonym.    I thought, "Well, that's an odd

9:50:53    6      thing to do" and I asked him why are you going to do it,

9:50:57    7      instead of getting the credit for yourself, and he said

9:51:03    8      well, he felt it was - since it was a monetary system, it

9:51:07    9      was important - and he didn't know exactly where it would

9:51:12   10      go, it was important to protect the privacy of himself

9:51:16   11      and his family, but then he said "Satoshi Nakamoto".

9:51:27   12      That was a bit of a surprise but it didn't amaze me

9:51:31   13      because of his attachment to all things Japanese and the

9:51:37   14      fact that in his bedroom he had a katana, a Japanese

9:51:42   15      sword, there, as well as all sorts of other Japanese

9:51:48   16      things.   He had these little devices that - I don't know

9:51:52   17      where they came from, where he could buy them, but things

9:51:57   18      that ninjas, in historic times, used to throw.       These

9:52:02   19      would have been toys, of course, but the sword was real.

9:52:08   20      So being Satoshi Nakamoto was a surprise but not a shock.

9:52:15   21      I asked him how did he come up with that name and he told

9:52:20   22      me that he named it - I understood he was telling me it

9:52:29   23      was two philosophers.    One was of the ilk of Adam Smith,

9:52:36   24      of whom you're probably familiar.     He was a Scottish

9:52:42   25      philosopher economist and he wrote the book The Wealth of
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 30 30
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM             30                 April 2, 2020




9:52:48    1      Nations and one of the big projections in that book was

9:52:53    2      the power of incentive and reward.      Now, the other one

9:53:05    3      was - I thought it was a separate Japanese philosopher,

9:53:11    4      but he spoke about moral and ethical conduct.       Now, with

9:53:17    5      Bitcoin, Craig was pushing that this can be a legal

9:53:26    6      system of exchange and transaction and also the fact that

9:53:34    7      you pay every step along the way, even though minuscule

9:53:42    8      payments.    What is presented through the Bitcoin block

9:53:47    9      chain channels is all motivated by incentives and rewards

9:53:52   10      and thus Adam Smith, or a Japanese style of Adam Smith,

9:53:59   11      was what convinced him to go that way, and so that

9:54:05   12      convinced me.    It sounded logical
                                                g     and it sounded Craig.
                                                                         g

9:54:12   13             Q.   Mr. Lynam, did Dr. Wright ever give you any

9:54:18   14      impression that he was not the sole creator of the block

9:54:32   15      chain?

9:54:45   16             MR. BRENNER:    Object to the form.   You can answer,

9:54:57   17      sir.

9:54:57   18             THE DEPONENT:     Can I explain in several words, to

9:55:01   19      explain a concept, also from my own experience?

          20      BY MS. McGOVERN:

9:55:06   21             Q.   Of course.

9:55:09   22             MR. BRENNER:    The same objection.

9:55:10   23             THE DEPONENT:     When I created the case tool that I

9:55:16   24      spoke to you about, the computer aided software

9:55:20   25      engineering tool, I had a small cell of people who were
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 31 31
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM          31                    April 2, 2020




9:55:24    1      expert at doing certain things and some of them were

9:55:29    2      basically just gofers as well, getting information for

9:55:33    3      me, but for the code cutting, I was never a code cutter,

9:55:39    4      never competent at it, whereas Nicholas A. Jones was just

9:55:45    5      incredible.   He didn't come up with any of the creative

9:55:48    6      ideas whatsoever, I did that, but he was able to act as a

9:55:57    7      direct reference into the COD manual on relational

9:56:03    8      databases and he could encode with such incredible skill

9:56:09    9      that there was no point competing with him.      Now, I was

9:56:14   10      definitely the creative author of that, there was never

9:56:17   11      any doubt about that, but people helped me, they were

9:56:23   12      part of the team and we put the whole package together.

9:56:27   13      Commonsense tells me that Craig had people help him and I

9:56:37   14      know there is a person, who Craig would not reveal to me

9:56:49   15      because Craig worked for - with him, I should say, in a

9:56:56   16      different security-related field, which is something I

9:57:01   17      just cannot talk about.   He - if I can step forward a

9:57:11   18      bit.   A fellow joined the team out of the blue and

9:57:18   19      actually did quite a bit of coding, I think, and his name

9:57:22   2
          20      was Hal Finney - I'm almost certain it was Hal Finney -

9:57:31   2
          21      because Hal Finney, after the Bitcoin went live, and it

9:57:38   2
          22      was open-source software, you'll recall, and he found

9:57:45   2
          23      faults in it.   He was setting up a node to do mining, one

9:57:51   2
          24      of many people doing that, and so he contacted Craig - or

9:57:56   2
          25      he believed he was contacting Satoshi Nakamoto - and
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 32 32
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM             32                 April 2, 2020




9:58:01    1      said, "I've found this problem.      I believe I can fix it.

9:58:06    2      Can I sort of become involved with you and do these

9:58:10    3      things?"   And so I think Hal Finney did quite a bit, but

9:58:18    4      I don't know of anybody else by name who did major

9:58:27    5      contributions to any of the work.

9:58:29    6      BY MS. McGOVERN:

9:58:32    7          Q.     Did Dr. Wright ever mention to you that in the

9:58:35    8      creation of the block chain, he was working with an

9:58:39    9      individual in West Palm Beach, Florida named David

9:58:45   10      Kleiman?

9:58:46   11          A.     No, he did not.

9:58:47   12          MR. BRENNER:      Object to the form.

9:58:49   13          THE DEPONENT:      However - although it wasn't until

9:58:53   14      recently, that I recall - because when this came up, I

9:58:58   15      started doing a little research to try to refresh my

9:59:02   16      mind.    I had heard of, but never discussed with Craig,

9:59:12   17      Dave Kleiman because at one stage he published a number

9:59:18   18      of books - Craig produced books or training guides for

9:59:28   19      people like the police forces and so on - and I noticed,

9:59:36   20      when looking at the book covers, lo and behold there was

9:59:42   21      Dave Kleiman/Craig Wright as co-authors and one of the

9:59:48   22      books actually had Dave Kleiman as an author, with Craig

9:59:55   23      as contributor.    But had Craig ever spoken to me about

0:00:06   24      David Kleiman?     Absolutely not.   And as for involvement

0:00:09   25      with Bitcoin, never ever did he mention it in that
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 33 33
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM          33                    April 2, 2020




0:00:17    1      context.

0:00:18    2      BY MS. McGOVERN:

0:00:21    3          Q.     And with respect to the books that you're

0:00:24    4      referring to, you became familiar with the books they

0:00:29    5      co-authored on your own, this was not - if I understand

0:00:33    6      your testimony correctly --

0:00:34    7          A.     No.

0:00:34    8          Q.     -- this was not Dr. Wright speaking to you

0:00:37    9      about David Kleiman, is that right?

0:00:41   10          A.     Back in the time when Craig was doing a lot of

0:00:48   11      cryptography work, he sent me papers, he sent me - via

0:00:55   12      the internet he sent the papers - he sent me images of

0:01:00   13      cards and he also sent me image of some of the books, so

0:01:06   14      I had actually seen those back in the - I think around

0:01:14   15      the mid-2000s.

0:01:20   16          Q.     Mr. Lynam, those books don't have anything to

0:01:25   17      do with the block chain, correct?

0:01:27   18          A.     Nothing whatsoever, but I had never noted Dave

0:01:36   19      Kleiman, Craig didn't talk to me in particular about him,

0:01:38   20      he just showed the books, and I had completely forgotten

0:01:44   21      the name until I went back researching and found images

0:01:49   22      of the books on the internet and then I said, "Bang,

0:01:53   23      there's Dave Kleiman on the books."     So I just want to

0:01:58   24      come out absolutely clear with that.     No, Craig didn't

0:02:01   25      discuss with me, it had nothing - I had no knowledge of
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 34 34
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM           34                   April 2, 2020




0:02:04    1      Dave Kleiman actually, but I did see his name as a

0:02:10    2      co-author with Craig in the mid-2000s.

0:02:17    3          Q.     But just to be clear with respect to your

0:02:19    4      testimony, the books that you're referring to were not

0:02:23    5      books concerning cryptology or the Bitcoin block chain,

           6      correct?

0:02:28    7          A.     They did cover security in cryptology but they

0:02:32    8      did not in any way talk about block chain or Bitcoin,

0:02:40    9      completely separate.    They were training books for

0:02:44   10      security forces and that certainly had nothing to do with

0:02:49   11      any form of digital money or block chain.      The target of

0:02:54   12      the books was totally different.

0:02:59   13          Q.     Mr. Lynam, did there come a point in time when

0:03:04   14      Dr. Wright needed an extensive network of computers, that

0:03:10   15      you became aware of?            Hearsay
0:03:11   16          A.     Yes.   As soon as he went live with Bitcoin,

0:03:18   17      which was in the beginning of 2009 - part of the

0:03:25   18      operating principle of Bitcoin is that there is as big as

0:03:31   19      possible, I understand, network of computers hooked up to

0:03:36   20      run nodes and to do mining and this is what creates the

0:03:43   21      proof of work and the verification of all the

0:03:49   22      transactions, so he wanted as big - he wanted millions,

0:03:56   23      if he could get them, to sign up and do it.

0:04:01   24          Q.     Mr. Lynam, did you offer to run a node on his

0:04:05   25      behalf?
                                    Hearsay, relevance
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 35 35
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM            35                  April 2, 2020




0:04:05    1          A.   Yes.   When Craig was telling me about it - he

0:04:08    2      didn't call me to ask about it, but he told me he's going

0:04:13    3      live, to let me know, and ran through a little bit of

0:04:19    4      what he needed and I said, "Well, look, I've got an

0:04:25    5      almost brand new Dell XPS computer that's pretty hot.

0:04:31    6      How about I run one of these nodes for you?"      And he

0:04:35    7      said, "You'd do that?"    And I said, "Yeah.    Great."    So I

0:04:41    8      did that and I think I'm glad I did it, I think I - I

0:04:51    9      hope it was beneficial for him, but he sent me software,

0:04:56   10      I think via FTP, with the instructions on how to put it

0:05:03   11      in there and set it up and my role from then on was just

0:05:08   12      simply to keep it going 24/7 and my computer was

0:05:15   13      excellent in that that particular computer had a little

0:05:19   14      video screen on the box, so I could monitor the task

0:05:25   15      manager and see that it was processing, how much

0:05:27   16      processing load there was, and that it was always

0:05:31   17      running, even with the screen, and all that sort of

0:05:35   18      thing, turned off.   So that was great.     I had to upgrade

0:05:39   19      the computer, though, even though it was a hot computer,

0:05:44   2
          20      because it actually did become hot, there seemed to be

0:05:47   2
          21      such a computing load that it ran hot, and so I upgraded

0:05:57   2
          22      the power supply.    The box, I think, came - the 450 watt

0:06:04   2
          23      power supply.   I upgraded it to a 750 watt.     I put in a

0:06:09   2
          24      fan in the front of the box.     It was well designed to be

0:06:14   2
          25      able to take a fan there.    So my lovely quiet, fancy
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 36 36
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM            36                  April 2, 2020




0:06:19    1      desktop, that was whisper quiet, from then on, was a

0:06:24    2      noisy machine going 24 hours a day, and I think probably

0:06:28    3      added to my electricity bill, but anyway.      So it - so I

0:06:34    4      kept that running and that kept running, with very few

0:06:40    5      interruptions.     It had interruptions only because I did

0:06:43    6      things like upgrading it.    I upgraded it to have a pair

0:06:48    7      of RAID disks, running as RAID 1, to give it better

0:06:52    8      robustness, and also I believe I upgraded the RAM - I

0:07:04    9      think then the computer only took 16 gig - upgraded the

0:07:11   1
          10      R M and did anything else I could to make it more robust
                  RA
                  RAM

0:07:17   1
          11      and reliable.

0:07:20   1
          12          Q.    Mr. Lynam, have you received any compensation

0:07:24   1
          13      from Dr. Wright in connection with the running of the

0:07:27   1
          14      node during that period of time?

0:07:32   1
          15          A.    No, not at all.    There was nothing I was

0:07:36   1
          16      supposed to do, except run it, and then it was in his

0:07:45   1
          17      hands.   He did contact me again, not very long after --

          18          MR. BRENNER:      Who's talking?

0:07:47   19          THE DEPONENT:      He did contact me again, not long

0:07:50   20      after the initial kickoff, to replace the software

0:08:03   21      because the original software was defective in some way

0:08:07   22      and that's when I first heard of this fellow Hal Finney,

0:08:12   23      because apparently Hal Finney had something to do with

0:08:15   24      highlighting a problem and contributing some work on the

0:08:23   25      open-source software to fix it.    So I got a new version
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 37 37
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM            37                  April 2, 2020




0:08:27    1      of the software to install and I installed that and then

0:08:36    2      it just ran until, I think, early in 2011, when, not

0:08:45    3      hearing anything from Craig, and also the load on the

0:08:56    4      system wound right down, so obviously my machine was no

0:08:59    5      longer contributing, probably because a lot more machines

0:09:04    6      were out there, and a lot more powerful machines, so then

0:09:09    7      I turned it off, in 2011.

           8      BY MS. McGOVERN:

0:09:16    9          Q.   Mr. Lynam, based upon your relationship with

0:09:19   10      Dr. Wright and your interactions with Dr. Wright over

0:09:24   11      this period of time that we're talking about, which has

0:09:29   12      brought us to 2011, do you have any reason to believe

0:09:35   13      that Dr. Wright is not the sole author of the Bitcoin:        A

0:09:55   14      Peer-to-Peer Electronic Cash System white paper? Leading,
                                                                         foundation
0:10:01   15          MR. BRENNER:    Object to the form.

0:10:05   16          THE DEPONENT:    No.    I had no doubts in my mind

0:10:10   17      whatsoever that he was the sole creative author.       That is

0:10:18   18      not saying that other people don't contribute to

0:10:21   19      open-source software, they do, that's the nature of it,

0:10:25   20      but he's the sole creative author and I still have not

0:10:31   21      seen anything of substance - I hear lots of questions and

0:10:37   22      lots of doubts, but I have not seen anything of substance

0:10:41   23      to shake me in that belief, he just went through those

0:10:46   24      years and it just seemed to flow and I had nothing to

0:10:53   25      point me in any other direction.
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 38 38
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM           38                   April 2, 2020




           1      BY MS. McGOVERN:

0:10:58    2          Q.   Mr. Lynam, do you have anything that would

0:11:06    3      c
                  cause you to believe that Dr. Wright was working in a

0:11:15    4      p
                  partnership or a joint venture with David Kleiman in
                                                               Leading, foundation,
0:11:24    5      connection with the Bitcoin block chain?
                                                               speculation
0:11:29    6          MR. BRENNER:      Object to the form.

0:11:31    7          THE DEPONENT:     No, I don't, and I have absolutely

0:11:36    8      no knowledge of it and since Craig never mentioned

0:11:41    9      Dave Kleiman and any such relationship to me, there was

0:11:46   10      nothing to trigger me to think that that might be so.        I

0:11:51   11      could speculate in my mind and wonder why would it be so,

0:11:55   12      but no, nothing was ever mentioned to me and I had no

0:11:59   13             g of any
                  knowledge     y such thing.
                                           g

0:12:02   14          THE VIDEOGRAPHER:     This is the videographer.      I

0:12:04   15      have five minutes of tape.

0:12:06   16          MS. McGOVERN:      I'm going to finish my questions in

0:12:13   17      those five minutes.

0:12:15   18      BY MS. McGOVERN:

0:12:26   19          Q.   Mr. Lynam, do you have any coins?        Relevance
0:12:31   20          A.   Do I have any coins?

0:12:33   21          Q.   Yes.                                     Relevance

0:12:34   22          A.   No, none, none whatsoever.      I bought two --

0:12:41   23          Q.   And has Dr. - I apologize.      Go ahead. Relevance

0:12:43   24          A.   I bought two, I think, in 2010 because I just

0:12:47   25      wanted to see how that worked.    I was a bit scared of it
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 39 39
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM             39                 April 2, 2020




0:12:52    1      all, so I kept it to a purchase of less than $5 and I got
                                                                          t

0:12:58    2      two Bitcoin for less than $5, but I've completely -

0:13:02    3      didn't pay much attention to it and I've completely lost

0:13:06    4      the keys,
                        y   so I've lost my
                                          y $5.

0:13:11    5          Q.   And has Dr. Wright, or anybody else, provided

0:13:16    6      you any compensation in connection with your testimony

0:13:19    7      today?

0:13:21    8          A.   None whatsoever, except a nice fuzzy - warm

0:13:25    9      fuzzy feeling that I'm helping.

0:13:28   10          MS. McGOVERN:     Thank you, Mr. Lynam.     I have no

0:13:29   11      further questions.

0:13:33   12          THE VIDEOGRAPHER:        We'll go off the record.

0:13:34   13          MR. BRENNER:     Before you go off the record - I know

0:13:36   14      you had a couple of minutes - I just want to note that it

0:13:39   15      appears that, probably because of the technical

0:13:41   16      difficulties, some of the objections may not be getting

0:13:44   17      through, and I know everyone is doing the best we can,

0:13:46   18      I'm just noting that.   I have no idea how many objections

0:13:51   19      you've gotten, so - we'll deal with that later, but I

0:13:53   20      just wanted to make that notation for the record.

0:13:56   21      Ms. McGovern, you're done with your questions?

0:13:58   22          MS. McGOVERN:     Yes, I am.

0:14:00   23          MR. BRENNER:     Okay.    Let's take a five-minute break

0:14:05   24      and then we'll do the cross-examination.

0:14:06   25          THE VIDEOGRAPHER:        Going off the record - end of
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 40 40
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM           40                   April 2, 2020




0:14:07    1      tape 1.   Going off the record at 10:13 a.m.

0:14:12    2      (10:13 a.m.)

           3                              (Break taken.)

0:20:17    4      (10:20 a.m.)

0:20:17    5          THE VIDEOGRAPHER:     Going back on the record at

0:20:21    6      10:20 a.m.   Commencement of tape 2.     Proceed.

0:20:27    7      EXAMINATIONBYMR. BRENNER:

0:20:28    8          Q.    Good morning again, sir.     My name is Andrew

0:20:30    9      Brenner and I represent the plaintiffs in this lawsuit.

0:20:33   10      I'm going to try to follow up on a lot of the areas that

0:20:37   11      Ms. McGovern covered with you earlier, okay?

0:20:39   12          A.    Yes.

0:20:41   13          Q.    Because I hear your name pronounced different

0:20:44   14      ways at different names, can you just spell your last

0:20:47   15      name for the record for me, please?

0:20:49   16          A.    L-Y-N-A-M.

0:20:53   17          Q.    Is the pronunciation Line-am?

0:20:56   18          A.    Line-am, that's correct.

0:21:00   19          Q.    One of the things you talked about with

0:21:02   20      Ms. McGovern was whether you'd ever seen her before.        Do

0:21:06   21      you recall that?

0:21:06   22          A.    Yes.

0:21:10   23          Q.    I don't know if you heard, but when she

0:21:14   24      introduced herself on the record, she said that she

0:21:15   25      worked for a law firm in Miami, Florida called
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 41 41
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM             41                 April 2, 2020




0:21:20    1      Rivero Mestre.     Did you hear that?

0:21:22    2          A.     Yes.

0:21:22    3          Q.     Before today, you have spoken with people from

0:21:25    4      Rivero Mestre, haven't you, sir?

0:21:27    5          A.     Yes.

0:21:29    6          Q.     Who have you spoken to from Rivero Mestre?

0:21:33    7          A.     Amanda and Zaharah Markoe.

0:21:38    8          Q.     And do you recall - well, let's just do it one

0:21:40    9      at a time.   How many times, before today, have you spoken

0:21:43   10      to - Amanda, you understand, is Ms. McGovern, right?

0:21:47   11          A.     Yes, that's correct.

0:21:48   12          Q.     I'll try to keep it more formal since it is a

0:21:52   13      court setting.     How many times, before today's

0:21:55   14      deposition, did you speak with Ms. McGovern?

0:22:18   15          A.     Not - three.

0:22:20   16          Q.     I'm not sure what happened there.     Let me ask

0:22:22   17      the question again.    How many times, before today's

0:22:25   18      deposition, have you spoken with Ms. McGovern?

0:22:27   19          A.     I apologize.   At just verging on 80, my mental

0:22:33   20      acuity is not as good as it used to be.      I'm just trying

0:22:36   21      to remember how many times.       It is very few times.

0:22:46   22      Between three and five.      I don't think it's more than

0:22:48   23      five.    I think it's probably three.

0:22:52   24          Q.     Very well, sir.    Do you remember was she the

0:22:55   25      first person from Rivero Mestre that you spoke to, from
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 42 42
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM           42                   April 2, 2020




0:22:59    1      that firm?

0:23:00    2          A.   I think the first person I spoke to was

0:23:03    3      Zaharah Markoe.

0:23:05    4          Q.   How many times would you estimate that you

0:23:07    5      spoke with Ms. Markoe?

0:23:10    6          A.   Once, but I think she was in on another call

0:23:16    7      where I was speaking to Ms. McGovern.

0:23:23    8          Q.   Do you know when - and I know it is hard to

0:23:27    9      pinpoint it - can you tell me the month when you first

0:23:31   10      spoke with Ms. Markoe?

0:23:45   11          A.   I don't remember.

0:23:48   12          Q.   Do you remember the year, sir?

0:23:52   13          A.   2019.

0:23:54   14          Q.   Do you know whether it was the first or second

0:23:57   15      half of that year?

0:23:58   16          A.   The second half.

0:24:01   17          Q.   And in that first conversation with Ms. Markoe,

0:24:04   18      was she alone or was Ms. McGovern part of that first

0:24:10   19      conversation?

0:24:27   2
          20          A.   I do not remember.

0:24:29   2
          21          Q.   Okay.     Do you know - did she call you or did

0:24:34   2
          22      you call her?    What was the first form of communication?

0:24:37   2
          23          A.   She called me.

0:24:38   24          Q.   When she called you, had you been told to

0:24:41   25      expect her call?
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 43 43
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM           43                   April 2, 2020




0:24:45    1          A.     I believe I got an email setting a time for the

0:24:50    2      call.

0:24:51    3          Q.     Who was that email from?

0:24:59    4          A.     That first one was from Zaharah Markoe, I

0:25:03    5      believe.

0:25:06    6          Q.     I guess what I'm trying to ask you about is how

0:25:10    7      - do you know how they came to get your phone number and

0:25:14    8      know how to contact you?

0:25:20    9          A.     I'm presuming that Craig gave it to them.

0:25:23   10          Q.     Did you ever speak with Craig about that you

0:25:26   11      were speaking to his attorneys?

0:25:32   12          A.     He asked me whether I was willing to speak to

0:25:34   13      them.

0:25:36   14          Q.     So before Ms. Markoe called you or emailed you

0:25:38   15      the first time, Dr. Wright had asked you whether you

0:25:41   16      would be willing to speak with attorneys?

0:25:44   17          A.     Yes.

0:25:45   18          Q.     Did he tell you what he wanted you to speak

0:25:51   19      with them about?

0:25:52   20          A.     About the court case that he had in Florida.

0:25:57   21          Q.     Did he tell you anything - what that court case

0:25:59   22      was about?

0:25:59   23          A.     He told me the superficial information, that

0:26:05   24      Dave Kleiman was suing him for a certain amount of - not

0:26:14   25      in any detail.
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 44 44
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM              44                 April 2, 2020




0:26:16    1             Q.   Did he tell you that the case was about

0:26:19    2      Bitcoin?

0:26:20    3             A.   He did tell me that it was Bitcoin related,

0:26:24    4      yes.

0:26:25    5             Q.   So he - was this a telephone call or an email

0:26:29    6      or an in-person contact from Dr. Wright?

0:26:32    7             A.   In an email.

0:26:34    8             Q.   Do you have that email still, sir?

0:26:38    9             A.   I very possibly do, but I'm not certain, no.      I

0:26:45   10      routinely delete - rather than build up great reserves -

0:26:50   11      I'm not in business or anything now, so my routine is to

0:26:54   12      delete my emails as they come through.

0:27:02   13             Q.   Although it will be an issue that we'll deal

0:27:04   14      with through the court cases, I would ask you to preserve

0:27:08   15      those emails - that email if you have not already deleted

0:27:10   16      it, okay?

0:27:12   17             A.   Certainly.   I can do that.

0:27:13   18             Q.   So in the contact from Dr. Wright, he told you

0:27:15   19      - or asked you if you'd be willing to talk to his

0:27:17   20      attorneys, is that fair to say?

0:27:18   21             A.   That's correct.

0:27:19   22             Q.   And then you got contacted by Ms. Markoe, is

          23      that correct?

0:27:22   24             A.   True, yes.

0:27:23   25             Q.   And as I understood what you said, she first
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 45 45
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM          45                    April 2, 2020




0:27:26    1      sent you an email to set up a time for a call?

0:27:30    2          A.   Yes.

0:27:32    3          Q.   Was there anything else in that email from

0:27:34    4      Ms. Markoe?

0:27:42    5          A.   I do not remember, but naturally, it would have

0:27:46    6      said that there was a purpose to the telephone call, but

0:27:53    7      that wasn't any comprehensive information, it would have

0:27:56    8      been just an introduction to the topic and could we talk.

0:28:00    9          Q.   And you understood the topic to be this

0:28:03   10      lawsuit, correct?

0:28:03   11          A.   Correct.

0:28:06   12          Q.   You had your telephone call with Ms. Markoe.

0:28:09   13      Can you tell me what you two spoke about the first time?

0:28:18   14          A.   It was basically about what was my connection

0:28:21   15      with Craig Wright and whether I had any connection with

0:28:29   16      his work towards and launching Bitcoin.

0:28:35   17          Q.   Is it fair to say that that conversation was

0:28:39   18      about the same topics that you just discussed with

0:28:43   19      Ms. McGovern at your deposition this last hour?

0:28:49   20          MS. McGOVERN:    Object to form.

0:28:52   21          THE DEPONENT:    No, that's not correct.      It was very

0:28:55   22      superficial and Ms. McGovern and Ms. Markoe have in fact

0:29:13   23      - seemed to me to be quite determined not to talk in any

0:29:18   24      depth about it whatsoever --

          25      BY MR. BRENNER:
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 46 46
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM             46                 April 2, 2020




0:29:27    1          Q.     So - I'm sorry, go ahead.    I didn't mean to cut

0:29:29    2      you off.

0:29:29    3          A.     I did query a couple of times why I wasn't told

0:29:33    4      more and had more explained to me, but then it occurred

0:29:37    5      to me that it was probably prudent, for credibility, if

0:29:43    6      there was no suggestion that I was fed any information

0:29:48    7      that might prompt me in any direction, and that seemed to

0:29:52    8      be the way it was.     So I came in here fairly cold.

0:29:58    9          Q.     Say that last part again, sir?

0:30:00   10          A.     So I came in here today fairly cold.

0:30:03   11          Q.     Okay.    After the first conversation with

0:30:05   12      Ms. Markoe, you estimated you had three to five

0:30:10   13      conversations with Ms. McGovern, correct?

0:30:12   14          A.     Yes.

0:30:14   15          Q.     And in those three to five additional

0:30:16   16      conversations, is it your testimony that they were all

0:30:20   17      superficial?      I'm just trying to understand what you all

0:30:23   18      talked about.

0:30:30   19          A.     I wish I'd gone back to my business days and

0:30:32   20      kept notes - detailed notes on every call.      The calls

0:30:40   21      were really leading towards the deposition.      Once it was

0:30:45   22      established that - I said yes, there was a connection

0:30:50   23      between Craig and myself that went over a number of years

0:30:54   24      and that I was slightly involved but had definite

0:31:01   25      knowledge of the launch of Bitcoin in 2009, we seemed to
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 47 47
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM             47                 April 2, 2020




0:31:09    1      step quickly to, "Are you willing to depose?"       And after

0:31:16    2      that, it was conversations primarily that led to today.

0:31:25    3          Q.     So, for example, and you'll tell me if I'm

0:31:28    4      wrong, when you came in today, one of the topics you knew

0:31:31    5      you were going to talk about was the Bitcoin white paper,

           6      correct?

0:31:36    7          A.     Correct.

0:31:37    8          Q.     Another topic you knew you were going to talk

0:31:39    9      about when you came in here today was Craig's

0:31:42   10      relationship with - Dr. Wright's relationship with your

0:31:45   11      father, correct?

0:31:46   12          A.     Yes.

0:31:48   13          Q.     One of the things you knew before you came here

0:31:50   14      today and, by the way - let me backtrack.      All these

0:31:55   15      things you knew based on your conversations with Rivero

0:31:59   16      Mestre, correct?

0:32:01   17          MS. McGOVERN:     Object to the form of the question.

0:32:03   18      Predicate.

0:32:03   19      BY MR. BRENNER:

0:32:06   20          Q.     You can answer.

0:32:07   21          A.     No.

0:32:08   22          Q.     How did you know, before today, that you were

0:32:10   23      going to talk about the Bitcoin white paper?

0:32:17   24          A.     I surmised that I would.

0:32:20   25          Q.     Just surmised it, never discussed the Bitcoin
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 48 48
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM           48                   April 2, 2020




0:32:25    1      white paper with the attorneys for Rivero Mestre, is that

0:32:29    2      your testimony, sir?

0:32:29    3          MS. McGOVERN:      Object to the form of the question.

0:32:31    4      BY MR. BRENNER:

0:32:32    5          Q.   Is that your testimony, sir?

0:32:34    6          A.   We are talking about telephone conversations?

0:32:38    7          Q.   Well, were there emails also in addition to the

0:32:40    8      telephone conversations?

0:32:42    9          A.   I did send them a statement.

0:32:48   10          Q.   You did?

0:32:49   11          A.   Yes.

0:32:49   12          Q.   You sent the attorneys for Rivero Mestre a

0:32:52   13      written statement?

0:32:54   14          A.   Yes - well, it was marked as a draft, but I

0:32:57   15      sent that to them and it outlined much of what we spoke

0:33:04   16      about today; that I was Craig's uncle and that he did

0:33:09   17      have a relationship with me and his grandfather and that

0:33:14   18      I was - I knew about his documents, he normally sent me

0:33:20   19      his documents, and that I was involved in the launch of

0:33:25   20      Bitcoin in the beginning of 2009.     So it was a short

0:33:30   21      statement to the effect that this was the case.       They did

0:33:39   22      not ask me for the statement, though.     In order to get

0:33:45   23      quickly to the nub of it, I decided that I would send

0:33:50   24      them a statement and then that would avoid a whole lot of

0:33:55   25      enquiry as to how I was involved and what I knew, and
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 49 49
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM          49                    April 2, 2020




0:34:01    1      that, I assume, is why there were no further discussions,

0:34:06    2      I had made a statement.

0:34:08    3          Q.   Once you sent the statement to - did you send

0:34:11    4      it to Rivero Mestre, is that who you sent it to?

0:34:15    5          A.   Yes.

0:34:16    6          Q.   And you said you sent it.     Was it stamped or

0:34:17    7      marked a draft, is that what you said?

0:34:19    8          A.   It was.

0:34:20    9          Q.   Did you ever sign that statement?

0:34:21   10          A.   No.

0:34:22   11          Q.   Once - is it your testimony that once you sent

0:34:25   12      that statement to Rivero Mestre, you had no further

0:34:28   13      conversations with them about the substance of the topics

0:34:32   14      you've talked about today?

0:34:36   15          A.   I hate the word of "absolute", had no - because

0:34:42   16      there can be the slightest mention that can be

0:34:46   17      misconstrued as saying there was some conversation of any

0:34:51   18      substance or merit.   From any reasonable point of view,

0:34:57   19      the answer would be no.

0:35:02   20          Q.   I think we got crossed up on a double negative

0:35:06   21      there, so let me try to re-ask it.     Is your testimony,

0:35:09   22      and I understand you can't be absolute, but it is your

0:35:11   23      testimony that once you sent the statement to Rivero

0:35:15   24      Mestre, you essentially did not have any more substantive

0:35:19   25      discussions with them about your testimony, is that fair?
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 50 50
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM             50                 April 2, 2020




0:35:23    1          A.      Yes.

0:35:24    2          Q.      Do you know when you sent that statement?

0:35:29    3          A.      I don't remember.

0:35:38    4          Q.      Do you remember the year?

0:35:45    5          A.      I believe it was this year.

0:35:49    6          Q.      "This year" being 2020?

0:35:54    7          A.      Yes.

0:35:55    8          Q.      And did you send that by email?

0:35:56    9          A.      Yes, as an email attachment.

0:36:01   10          Q.      Did you type a document and attach it to an

0:36:03   11      email?

0:36:04   12          A.      Yes.    It was in PDF format and I attached it to

0:36:08   13      an email.

0:36:14   14          Q.      And do you still have a copy of that?

0:36:16   15          A.      Yes.

0:36:17   16          Q.      Do you have it with you?

0:36:19   17          A.      No.

0:36:20   18          Q.      Okay.   Let me ask you you talked a lot about

0:36:26   19      the gentleman who was referred both to as Dr. Wright's

0:36:30   20      grandfather and your father, so let me ask you a few

0:36:33   21      questions about him, okay?

0:36:35   22          A.      Yes.

0:36:35   23          Q.      What was his name?

0:36:37   24          A.      Ronald Andrew Lynam.

0:36:42   25          Q.      I don't know that we asked you this.    What is
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 51 51
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM            51                  April 2, 2020




0:36:44    1      your date of birth?

0:36:45    2          A.     The 22nd of September 1940.

0:36:49    3          Q.     40?

0:36:50    4          A.     40.

0:36:52    5          Q.     And your father - and I apologize, you said his

0:36:55    6      name.    His name was what again?

0:36:57    7          A.     Ronald Andrew Lynam.

0:37:00    8          Q.     And Ronald Lynam, because otherwise we'll have

0:37:06    9      many Mr. Lynams, Ronald Lynam, when was he born?

0:37:11   10          A.     1916.

0:37:14   11          Q.     He's passed away or is he still alive?

0:37:17   12          A.     No, he passed away at 92.

0:37:21   13          Q.     He passed away in 1992.    Do you know how old

0:37:24   14      Dr. Wright is?

0:37:37   15          A.     49, I think.    I know when he was born.    He was

0:37:41   16      born in October 1970, three months before my son, so I

0:37:49   17      remember that and I can't remember my son's name either.

0:37:52   18      I'd have to do quick math - not his name, his age.

0:37:58   19          Q.     You already got where we needed to be.      So

0:38:00   20      Dr. Wright was born in 1970, correct?

0:38:03   21          A.     Correct.

0:38:04   22          Q.     And your father, do you recall his date of

0:38:11   23      death, what month he passed away?

0:38:14   24          A.     No, I do not.

0:38:16   25          Q.     Okay.   Because we don't know the month, your
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 52 52
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM             52                 April 2, 2020




0:38:22    1      father passed away when Dr. Wright was either 21 or 22

0:38:27    2      years old, right?

0:38:28    3          A.     Yes, that would be right.

0:38:29    4          Q.     So most of your father's life, Dr. Wright was a

0:38:34    5      minor, correct?

0:38:35    6          A.     Correct.

0:38:38    7          Q.     They were not business associates in any way,

           8      correct?

0:38:40    9          A.     Absolutely not.

0:38:42   10          Q.     But he loved your father, right?

0:38:44   11          A.     He certainly did.

0:38:46   12          Q.     And your father loved him, correct?

0:38:47   13          A.     Correct.

0:38:53   14          Q.     When your father - let's start from, let's say,

0:38:58   15      1988, when Dr. Wright would have been about 18, okay?

0:39:03   16      Where was your father living?

0:39:25   17          A.     At that stage he could have gone into the

0:39:31   18      Pimpama Nursing Home, outside Brisbane.

0:39:33   19          Q.     I was going to ask you that.    At the end - in

0:39:35   20      the latter years of his life, was your father in a

0:39:38   21      healthcare facility?

0:39:39   22          A.     Yes, he was.

0:39:41   23          Q.     About how many of the last years of his life

0:39:43   24      was he in a - I think you said it was a nursing home.

0:39:47   25      How long was he in there?
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 53 53
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM            53                  April 2, 2020




0:39:50    1          A.     I cannot remember precisely.    It was a few

0:39:53    2      years, though.

0:39:55    3          Q.     Do you know what - I think you may have said

0:39:58    4      it, or maybe you were saying the name of the nursing

0:40:00    5      home.    Do you know what city that was in, or town?      I'm

0:40:04    6      not sure what verbiage you use.

0:40:05    7          A.     Pimpama the name of the district is.

           8          Q.     Okay.

           9          A.     It's --

0:40:09   10          Q.     So where was Dr. - I'm sorry.

0:40:11   11          A.     It's near the Gold Coast - or it is in the

0:40:15   12      Gold Coast city in Queensland.

0:40:18   13          Q.     Where did Dr. Wright live at this time?

0:40:31   14          A.     At that time he lived in northern New South

0:40:37   15      Wales, I believe, and - I'm trying to remember the town

0:40:53   16      it was outside, but it was in northern New South Wales,

0:40:57   17      where he set up a berry farm with his wife.      It's very

0:41:04   18      hard for me to get the years right, but after he left the

0:41:11   19      accounting firm - I think it was BDO - they set up a farm

0:41:20   20      with berries, I think, so he was actually living there,

0:41:26   21      but clearly he was doing a lot of travelling.       That was

0:41:31   22      basically his home base.

0:41:33   23          Q.     Right.    Maybe our years are a little off.    I'm

0:41:36   24      trying to focus on really the ages between 18 and 22,

0:41:40   25      which is when Dr. Wright - when Dr. Wright was between 18
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 54 54
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM             54                 April 2, 2020




0:41:45    1      and 22 was the last three to four years of your dad's

0:41:49    2      life?

0:41:50    3          A.     Yes.

0:41:50    4          MS. McGOVERN:     I'm sorry, can you repeat that

0:41:51    5      question, Mr. Brenner?    I didn't hear it.

0:41:53    6          MR. BRENNER:     Sure.

0:41:53    7      BY MR. BRENNER:

0:41:53    8          Q.     I'm trying to set the timeframe.     I'm trying to

0:41:57    9      focus you on the time period when Dr. Wright is about 18

0:42:00   10      to 22, which should be the last four years of your dad's

0:42:03   11      life.    Do you understand that?

0:42:04   12          A.     I do.

0:42:05   13          Q.     So I'm trying to figure out where Dr. Wright

0:42:09   14      was living during those years?

0:42:21   15          A.     To make an honest statement, I would have to

0:42:23   16      say I don't know and through most of his life - adult

0:42:34   17      life, I didn't know where he lived anyway because the way

0:42:39   18      it worked, we communicated by email and telephone and

0:42:45   19      didn't discuss where he was living and we got together

0:42:54   20      most Christmases and I also went to his two weddings and

0:43:03   21      sisters' weddings, where I'd meet up with him again, but

0:43:08   22      as for actually getting together, it was primarily on

0:43:14   23      family occasions, because I lived in Melbourne, or

0:43:21   24      outside Melbourne, and - at that time I did live in

0:43:26   25      Melbourne.
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 55 55
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM          55                    April 2, 2020




0:43:30    1          Q.   In that time - again, this is when Dr. Wright

0:43:33    2      is in his early adult years, 18 to 22 - how often was he

0:43:37    3      seeing your father?

0:43:42    4          A.   I can't say that because when I saw the two of

0:43:47    5      them together, and the warmth between them, was times

0:43:52    6      when I was up there, but at those - at that age, I'm sure

0:44:06    7      he lived locally to the major Brisbane area, I feel sure,

0:44:12    8      but I don't know for certain, I truly don't know.

0:44:15    9          Q.   I'm geographically challenged when it comes to

0:44:17   10      Australia, so what is the geographic relationship between

0:44:21   11      the greater Brisbane area and where your father was in

0:44:24   12      the nursing home?

0:44:29   13          A.   It and the Gold Coast actually merge together,

0:44:32   14      they are part of the - ostensibly, part of the one

0:44:37   15      metropolitan area, the Gold Coast, but Pimpama, which I

0:44:42   16      think the place was called, was closer into Brisbane and

0:44:49   17      definitely on the side of Brisbane, where my parents

0:44:52   18      lived.

0:44:55   19          Q.   You don't have personal knowledge of how often

0:44:58   20      Dr. Wright was seeing your grandfather the last three or

0:45:02   21      four years of his life, is that fair?

0:45:03   22          A.   No, I don't have personal knowledge.       My

0:45:06   23      knowledge is merely of what my mother says to me, that

0:45:11   24      they get there and they talk for hours, with some

0:45:19   25      complaint of it, and what I have seen when I have been
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 56 56
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM           56                   April 2, 2020




0:45:23    1      visiting in that area.

0:45:35    2          Q.   You would be with Dr. Wright and your father at

0:45:40    3      Christmas time, is that correct?

0:45:41    4          A.   Yes.

0:45:42    5          Q.   Any other times that you have personal

0:45:48    6      knowledge that you witnessed them together in the last

0:45:50    7      few years of your father's life?

0:45:52    8          A.   There were other occasions when we went up

0:45:56    9      there, when there were special events, so - I certainly

0:46:01   10      don't have a calendar which would tell me when we made

0:46:05   11      all these trips, so no, I can't tell you how many times.

0:46:18   12          Q.   Can you estimate it, how many times per year in

0:46:23   13      those three to four years that Dr. Wright would see your

0:46:25   14      father, based on your personal knowledge?

0:46:29   15          MS. McGOVERN:     Object to the form of the question.

0:46:33   16          THE DEPONENT:      It would be several times.

0:46:48   17      BY MR. BRENNER:

0:46:51   18          Q.   Several times a year?

0:46:56   19          A.   Because - yes, because at the times when the

0:46:59   20      family was together, Craig was a frequent visitor to my

0:47:03   21      grandparents' home.

0:47:05   22          Q.   Okay.     What does Craig call you?

0:47:10   23          A.   He now calls me Don.

          24          Q.   Okay.

0:47:15   25          A.   But --
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 57 57
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM             57                  April 2, 2020




0:47:15    1             Q.   Was there a time - I'm sorry.    I didn't mean to

0:47:18    2      cut you off.

0:47:18    3             A.   But he called me Uncle Don, and his sisters did

0:47:23    4      too.     I don't know.   I think their mother must have

0:47:29    5      brought them up very well, but they always called me

0:47:32    6      Uncle Don and Craig - well, it wouldn't have been more

0:47:38    7      than five years ago that he stopped calling me Uncle Don.

0:47:42    8             Q.   Okay.   You love Craig, don't you?

0:47:45    9             A.   I do.          g
                                      I have great    p
                                                   respect      y p   y for
                                                           and sympathy
                              Relevance, improper expert opinion,
0:47:48   10      Craig.      foundation, speculation
0:47:49   11             Q.   Wh do
                              Why d you have
                                        h    sympathy
                                                  th for
                                                      f  hi ?
                                                         him?

0:47:52   12             A.   Because of his difficulties.    He has an

0:48:01   13      admitted problem - I feel I can mention it because he has

0:48:05   14      mentioned it on stage and his mother has mentioned it to

0:48:11   15      me, but he has actually mentioned it in public, on stage,

0:48:18   16      basically apologizing for the way he gets angry - but he

0:48:21   17      has Asperger's and part of the way he has Asperger's is

0:48:28   18      that, one, his brain just works like a machine and, two,

0:48:33   19      he tends to be socially inept, except for when he's with

0:48:39   20      my grand - with my father - well, when he - they just

0:48:45   21      went boom.

0:48:48   22             Q.   So you have sympathy for him for the reasons

0:48:52   23      you describe and you respect him - I think you've talked

0:48:57   24      about that already - but you also love him as your

0:49:02   25      nephew, correct?
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 58 58
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM           58                   April 2, 2020




0:49:02    1          A.      I do, and I respect him for being a very

0:49:05    2      honorable and honest person.    As I said in response to

0:49:11    3      Ms. McGovern, I wasn't all that surprised that he picked

0:49:17    4      out a Japanese philosopher of the ilk of Adam Smith

0:49:25    5      because of his thrust towards the economy works best with

0:49:29    6      incentive and reward.    It is part of Craig being honest

0:49:37    7      and believing in right and good morals and in proper

0:49:45    8      behavior.

0:49:48    9          Q.      One of the last questions Ms. McGovern asked

0:49:51   10      you was, and I'm not professing to quote it, but she

0:49:54   11      essentially asked you whether you had been given any

0:49:58   12      compensation for your testimony today.      Do you recall

0:50:00   13      that?

0:50:00   14          A.      Yes.

0:50:02   15          Q.      And your answer - again, I'm not professing to

0:50:04   16      quote it, but I'm doing my best to capture what you said

0:50:08   17      - you said you have not been given any compensation,

0:50:11   18      other than you get - I think you said a warm fuzzy

0:50:15   19      feeling because you're helping.    Is that what you said?

0:50:20   20          A.      Yes.

0:50:20   21          Q.      What did you mean by that?

0:50:24   22          A.      Well, it was an interesting thing to do, to get

0:50:29   23      involved, even though it was very superficially involved.

0:50:34   24      It kept me interested in my computer and playing with it

0:50:37   25      further, to add to it and make it a more robust and
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 59 59
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM           59                   April 2, 2020




0:50:43    1      strong-running machine, so I enjoyed all of that, but I

0:50:50    2      never did mine for Bitcoin and I have no knowledge of how

0:50:59    3      you mine, what the process is, but I've installed what's

0:51:06    4      called a node and what the node does, I know that it

0:51:15    5      verifies transactions and competes with other computers

0:51:21    6      to be the one that verifies a transaction and I know that

0:51:29    7      miners, that they - when they do whatever they do, they

0:51:32    8      can earn Bitcoin and that's the incentive part, part of

0:51:37    9      the incentive part, but mine was set up as totally

0:51:46   10      hands-off for me, except that I kept the monitor going so

0:51:50   11      I could watch the task manager to see that the system was

0:51:54   12      running correctly.

0:51:55   13          Q.   Mr. Lynam, let me try this again.       You were

0:51:59   14      asked two questions at the end of Ms. McGovern's

0:52:02   15      examination.    One was about whether you had been

0:52:04   16      compensated for running Bitcoin.     I'm not asking you

0:52:08   17      about that.    She then specifically asked you if you were

0:52:11   18      being compensated for what you're doing today, testifying

0:52:15   19      today, and you said, "No, except for I get a warm, fuzzy

0:52:19   20      feeling because I know I'm helping."     Do you recall that?

0:52:24   21          A.   Well, no, I don't recall that.      Obviously the

0:52:29   22      conversation got a little confused.     I didn't hear her

0:52:33   23      ask whether I was being compensated for today, but the

0:52:41   24      answer to that, if she did ask that, is no, there's no

0:52:46   25      compensation for today, and I'm trusting there's no
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 60 60
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM            60                  April 2, 2020




0:52:49    1      expense as well, but --

0:52:54    2          Q.   Not from me.

0:52:56    3          A.   But with running the node, which I thought was

0:52:59    4      the question, no, no compensation for that.

0:53:04    5          Q.   Sir, you want to help your nephew through your

0:53:08    6      testimony today, that's fair to say, is it not?

0:53:13    7          MS. McGOVERN:    Object to the form of the question.

0:53:18    8          THE DEPONENT:    Yes.    If I didn't think that

0:53:21    9      absolutely honest answers would be of assistance to

0:53:31   10      Craig, I probably would have said that I don't want to

0:53:36   11      depose and I understand there was no real compulsion

0:53:42   12      until I got that subpoena, so there wasn't compulsion.        I

0:53:48   13      agreed to do it because I have so much faith in Craig and

0:53:54   14      my knowledge of what happened through that time that I

0:54:01   15      have high confidence that Craig has behaved correctly and

0:54:10   16      my understanding of it is correct and I can answer all

0:54:14   17      the questions with absolute honesty.

          18      BY MR. BRENNER:

0:54:18   19          Q.   I'm not suggesting anything, I'm just - is it

0:54:22   20      fair to say that you, and I think you did say, you agreed

0:54:25   21      to be - "deposed" is the word you used - because you

0:54:29   22      believed that your testimony, truthful testimony, would

0:54:32   23      help your nephew, correct?

0:54:39   24          MS. McGOVERN:    Object to the form of the question.

0:54:41   25          THE DEPONENT:    Now, I'm not a lawyer.      It may be
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 61 61
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM           61                   April 2, 2020




0:54:44    1      possible that my testimony is no assistance at all, but I

0:54:48    2      certainly, in my heart, do hope that I am of some

0:54:54    3      assistance to him and to the honest and proper outcome of

0:54:58    4      the matter.

0:55:00    5      BY MR. BRENNER:

0:55:03    6          Q.   I want to talk to you a little bit about the

0:55:07    7      Bitcoin white paper.

0:55:09    8          A.   Yes.

0:55:13    9          Q.   Now, here I did try to take pretty good notes,

0:55:15   10      so I'm going to go through what I think you testified to

0:55:18   11      and you'll tell me where I got it wrong, okay?

0:55:21   12          A.   Okay.

0:55:21   13          Q.   Some time, I believe you said, in 2007 or 2008

0:55:27   14      you got from Dr. Wright a draft of what later became the

0:55:32   15      Bitcoin white paper, correct?

0:55:34   16          A.   Correct.

0:55:35   17          Q.   I think you testified that when you got that

0:55:38   18      draft, it didn't say the word "Bitcoin" on it, correct?

0:55:45   19          A.   Correct.     Certainly I cannot recall the word

0:55:49   20      "Bitcoin".    I think there was postulated, and I'm trying

0:55:55   21      to think if it was actually on that document, alternate

0:55:59   22      names, but the substance of it was of that paper.

0:56:05   23          Q.   Okay.     And what you said was that it was highly

0:56:10   24      technical, correct?

0:56:11   25          A.   Yes.     There were lots of mathematics and graphs
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 62 62
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM            62                  April 2, 2020




0:56:17    1      and tables.

0:56:21    2          Q.   Although - I'm sorry.     Let me give you a

0:56:23    3      blanket apology.     It's hard for me to know always when

0:56:26    4      you're done, so when I do cut you off, which I have done

0:56:30    5      several times inadvertently, and Ms. McGovern did as

0:56:33    6      well, you just let me know, okay?     It is nothing

0:56:35    7      intentional, okay?

0:56:38    8          A.   Certainly, and I apologize in turn because I

0:56:44    9      acknowledge that my brain doesn't click over just as

0:56:48   10      quickly as it used to - I used to be pretty damn good -

0:56:55   11      but I want to go slowly and I want to try to be

0:56:58   12      absolutely certain that when I - what I say is the best

0:57:04   13      rendition of what my brain tells me.

0:57:08   14          Q.   Okay.     To try to help us, I'm going to try to

0:57:11   15      ask short questions, okay?

0:57:13   16          A.   Okay.

0:57:14   17          Q.   When you received the draft paper from

0:57:17   18      Dr. Wright, you described it today as being highly

0:57:22   19      technical, right?

0:57:23   2
          20          A.   Yes.

0:57:24   21          Q.   And although you had helped Dr. Wright edit

0:57:28   22      some of his other papers, this one you told him you

0:57:31   23      couldn't help him with because it was highly technical?

0:57:34   24          MS. McGOVERN:      Object to the form of the question.

0:57:37   25      BY MR. BRENNER:
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 63 63
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM             63                  April 2, 2020




0:57:37    1          Q.     That's what you said, right, sir?

0:57:39    2          A.     No, that's not what I intended to say, if

0:57:42    3      that's what I did say.     What --

0:57:43    4          Q.     Okay.   What did you intend to say?

0:57:45    5          A.     What I said was that I decided I did not

0:57:51    6      attempt.   I didn't tell him I wouldn't because of, I just

0:57:55    7      simply decided I wouldn't attempt to do it.

0:57:59    8          Q.     Okay.   Fair enough.   So you did not attempt to

0:58:01    9      edit that paper, correct?

0:58:02   1
          10          A.     Correct.

0:58:05   1
          11          Q.     You described it, in the form you got it, as

0:58:08   1
          12      being, and I quote - I think I'm quoting this, you

0:58:12   1
          13      described it as being "poorly written", is that fair?

0:58:15   1
          14          A.     Yes.

0:58:18   1
          15          Q.     Have you since seen the final version of that

0:58:20   1
          16      paper?

0:58:21   1
          17          A.     Yes.

0:58:24   1
          18          Q.     It's been edited since you saw it, the draft,

          1
          19      correct?

0:58:29   2
          20          A.     Thank God.

0:58:30   21          MS. McGOVERN:       Object to the form of the question.

0:58:31   22      BY MR. BRENNER:

0:58:35   23          Q.     You can answer.

0:58:35   24          A.     Thankfully, yes.

0:58:37   25          Q.     It's a lot better written, correct?
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 64 64
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM            64                  April 2, 2020




0:58:40    1          A.     It's a lot better written.

0:58:42    2          Q.     If someone said that you edited that paper,

0:58:45    3      that would be incorrect?

0:58:45    4          A.     That would be incorrect.

0:58:48    5          Q.     If someone said that you helped set up Bitcoin,

0:58:52    6      that would also be incorrect?

0:58:54    7          A.     Yes.    I just want to make sure I understand --

0:59:07    8          Q.     Sure --

0:59:08    9          A.     -- your question there.

0:59:10   1
          10          Q.     Sure.

0:59:13   1
          11          A.     As I explained, there were a lot of people, and

0:59:16   1
          12      an expanding number of people, that were involved in

0:59:19   1
          13      Bitcoin, and that's the whole nature of Bitcoin, and I

0:59:25   1
          14      was one of those people, I ran a node, but did I have any

0:59:30   1
          15      technical input into establishing it or operating it?

0:59:36   1
          16      The answer is no.

0:59:38   17          Q.     Other than after Bitcoin, as you said, went

0:59:41   18      live and you helped run a node, did you help set up

0:59:44   19      Bitcoin?

0:59:45   20          A.     No.    I ran the node and that was it.

0:59:53   21          Q.     That was it.   Okay.

0:59:53   22          A.     In fact, I didn't even really read much about

0:59:57   23      it after that.

1:00:00   24          Q.     You said that - I'm not sure exactly what you

1:00:06   25      said.    Do you recall how - in what format Craig - excuse
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 65 65
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM          65                    April 2, 2020




1:00:11    1      me - Dr. Wright sent you the draft Bitcoin paper?

1:00:23    2          A.   Well, I printed it, I had it on paper.        I'm

1:00:27    3      assuming it was a PDF, but I can't recall whether he sent

1:00:31    4      it as an attachment to an email or whether he gave me a

1:00:37    5      URL to go and get it off the internet, I can't remember.

1:00:43    6          Q.   So he either sent you, by email, an attachment

1:00:46    7      or, in an email, a link to go find the PDF, is that fair?

1:00:50    8          A.   That's fair, but I - to be honest, I cannot

1:00:54    9      remember precisely.   He would not have used FTP just to

1:01:04   10      send that, so I would think that it was either by email

1:01:09   11      or he sent me - as an attachment - it would have been an

1:01:15   12      attachment because it was a document, or I got it off a

1:01:19   13      URL that he gave me, but probability tells me it would be

1:01:25   14      an email with an attachment.

1:01:28   15          Q.   And do you still have that email?

1:01:31   16          A.   No.

1:01:47    7
          17          Q.   Now, you were asked questions about whether

1:01:51    8
          18      you'd ever heard of Dave Kleiman.     Do you recall that

1:01:54    9
          19      testimony?

1:01:55    0
          20          A.   Yes.

1:01:56    1
          21          Q.   Now, you were very clear that Craig Wright, or

1:02:01    2
          22      Dr. Wright, never referred to or told you about anyone

1:02:05    3
          23      named Dave Kleiman, correct?

1:02:06    4
          24          A.   Yes.

1:02:08    5
          25          Q.   But you said you did some of your own research
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 66 66
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM            66                  April 2, 2020




1:02:12    1      and you found certain books where Dave Kleiman and

1:02:18    2      Dr. Wright were either co-authors or one was a

1:02:21    3      contributor to the other's work, correct?

1:02:23    4          A.    Yes.

1:02:24    5          Q.    When did you do that research?

1:02:30    6          A.    Within the last two months.

1:02:32    7          Q.    Was it in connection with your preparation for

1:02:35    8      your testimony today?

1:02:38    9          A.    Yes.

1:02:39   1
          10          Q.    So you wanted - and I think you said this - you

1:02:42   1
          11      wanted to make sure that you knew as much as you could

1:02:46   1
          12      about the subjects you were going to be asked about?

1:02:49   13          MS. McGOVERN:      Object to the form of the question.

          14      BY MR. BRENNER:

1:02:53   15          Q.    Go ahead.

1:02:54   16          A.    Yes, I think that is trying to put words in my

1:02:57   17      mouth.   I was not trying to get facts to relate, I was

1:03:03   18      trying to refresh my mind and try to understand what this

1:03:08   19      is all about.     I mentioned to you that Craig had sent me

1:03:16   20      images of his qualifications, his business cards.       He

1:03:26   21      had, I recall, sent me images of the covers, not the

1:03:31   22      actual books themselves, of the covers of some books that

1:03:36   23      he had written or co-written.     Now, in doing a little bit

1:03:43   24      of reading to find out what this is all about - I had

1:03:49   25      never heard of Dave Kleiman until this arose.       Now, the
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 67 67
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM           67                   April 2, 2020




1:03:56    1      name Dave Kleiman is not in my memory bank anywhere, so I

1:04:02    2      decided to have a look and to go back and try to find

1:04:10    3      those books, so I searched in images in Google and I

1:04:15    4      searched "Kleiman and Wright" and I came up with images

1:04:22    5      of some of the books and I said, "Bang, that's what Craig

1:04:27    6      sent me, those images," and so now I know that Dave

1:04:34    7      Kleiman is there and did have some relationship.       But did

1:04:41    8      Craig ever talk to me about it?    No.

1:04:46    9          Q.   I misunderstood what you said before, so let me

1:04:48   10      just follow up.    When Craig had sent you - or Dr. Wright

1:04:51   11      had sent you these images of cards and book covers, was

1:04:56   12      that recently or was that some time way in the past?

1:04:59   13          A.   That was in 2007, I think.

1:05:04   14          Q.   That had nothing to do with your testimony here

1:05:06   15      today?

1:05:07   16          A.   Absolutely none whatsoever, but I just wanted

1:05:10   17      to make it clear, in the interest of full openness and

1:05:15   18      honesty, that I can say that I knew nothing whatever,

1:05:19   19      until recently, of Dave Kleiman, but I'd have to admit

1:05:26   20      that Craig sent me information and documents and, lo and

1:05:31   21      behold, there's Dave Kleiman's name.     So it was clear to

1:05:36   22      me that Craig had a relationship in writing those books,

1:05:43   23      for an entirely different purpose, but all of that -

1:05:49   24      Dave Kleiman was not familiar to me at any time until

1:05:53   25      this matter.
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 68 68
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM           68                   April 2, 2020




1:05:55    1          Q.   Right.     So in the last couple months you did

1:05:58    2      some - I think you said Google searches, right?

1:06:01    3          A.   Yes.

1:06:02    4          Q.   And when you saw some of the books pop up, it

1:06:04    5      rang a bell that the images were something that Craig had

1:06:07    6      sent you 10, 12 years ago?

1:06:09    7          A.   I recognized the images, I said, "Ah, those are

1:06:17    8      the books," because I picked those images out of a great

1:06:21    9      sheet of Google images, and with blowing them up, I could

1:06:24   10      see Dave Kleiman's name there as an author or co-author.

1:06:30   11          Q.   When you did that, which I think you said was

1:06:33   12      in the last couple months --

1:06:36   13          A.   Yes.

1:06:37   14          Q.   -- did you call Craig and ask him about

1:06:39   15      Dave Kleiman?

1:06:39   16          A.   No.

1:06:40   17          Q.   Why not?

1:06:42   18          MS. McGOVERN:     Object to the form of the question.

1:06:46   19          THE DEPONENT:      I'm not sure what I would ask him.

1:06:48   20      What would I ask?

          21      BY MR. BRENNER:

1:06:51   22          Q.   You weren't curious about who this person was

1:06:56   23      that - whose family was involved with a lawsuit against

1:07:01   24      your nephew and now you had discovered that they had

1:07:05   25      worked on publications together?
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 69 69
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM           69                   April 2, 2020




1:07:08    1          MS. McGOVERN:    Object to the form of the question.

           2          THE DEPONENT:    No.

1:07:09    3          MS. McGOVERN:    Asked and answered.

1:07:14    4      BY MR. BRENNER:

1:07:14    5          Q.   You can answer, sir.

1:07:16    6          A.   Way back in 2007, clearly I did know that Craig

1:07:20    7      worked with Dave Kleiman, and others, in producing

1:07:26    8      cryptographic and security manuals and books for the

1:07:38    9      purpose of selling them, I would presume, to

1:07:42   10      organizations like the New South Wales police force, the

1:07:46   11      military forces and so on, but it had nothing to do with

1:07:54   12      Bitcoin, it was well before all of that, I believe, and

1:08:03   13      Craig did not specifically talk to me about any of his

1:08:08   14      co-authors, they were just co-authors, so I had no

1:08:13   15      particular interest in Dave Kleiman, except I went back

1:08:16   16      to look at those books, because in something else I read

1:08:23   17      on the internet, there was - and trying to see what this

1:08:28   18      case was about, there was some mention of them having

1:08:37   19      collaborated with books and so I said, "Ah, is that who -

1:08:45   2
          20      is he one of the co-authors?", and it turns out that I

1:08:50   2
          21      verified that he was one of the co-authors - well,

1:08:53   2
          22      obviously was, you can see it on the book - of the

1:08:58   2
          23      document that Craig had sent me.     But Craig - let me

1:09:04   2
          24      repeat again Craig did not discuss, in any way that I can

1:09:08   2
          25      recall, Dave Kleiman in that period or in writing those
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 70 70
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM          70                    April 2, 2020




1:09:19    1      books, nor in anything up to and during the Bitcoin

1:09:29    2      thing, he absolutely did not.    There's - there are names,

1:09:39    3      like Hal Finney and Hal Finney came up because we

1:09:44    4      discussed the repair - the discovery of a fault and a

1:09:50    5      repair of the original node software and this fellow,

1:09:55    6      Hal Finney, as I understand it, installed it, found the

1:10:01    7      problem and then he contacted who he knew as Satoshi

1:10:07    8      Nakamoto, said there was a fault, could he contribute and

1:10:11    9      did and ended up making quite a few code contributions;

1:10:17   10      Craig had told me that.   But getting to the point of

1:10:29   11      Dave Kleiberg - Kleiman, I should say, did he ever

1:10:33   12      mention Dave Kleiman as - well, no, he - I simply didn't

1:10:43   13      know about Dave Kleiman, except for those books way back

1:10:47   14      in 2007, and even then, the name didn't register in my

1:10:53   15      mind as a name to remember.    So the name was discovered

1:10:59   16      by me, in any sort of reasonable form, only in these last

1:11:05   17      few months.

1:11:27   18          Q.   You testified that it was commonsense to you

1:11:31   19      that Dr. Wright would have had help in creating Bitcoin,

          20      is that correct?

1:11:36   21          A.   That's correct, yes.

1:11:37   22          MS. McGOVERN:    Object to the form of the question.

1:11:40   23      BY MR. BRENNER:

1:11:41   24          Q.   And you don't know - he never mentioned any of

1:11:46   25      who those people were, except for perhaps Hal Finney, is
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 71 71
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM            71                  April 2, 2020




           1      that correct?

1:11:50    2          A.   That's correct, but he has mentioned one other,

1:11:53    3      whose name I have never known.

1:11:56    4          Q.   He mentioned there's another person but he

1:11:59    5      didn't tell you the name?

1:12:00    6          A.   Yes, and all he told me was a security person

1:12:09    7      who - his relationship with him, he's a super

1:12:16    8      mathematician, but his name cannot be revealed.

1:12:20    9          Q.   You don't know it?

1:12:22   10          A.   I don't know it, I don't know it.

1:12:26   11          Q.   Do you know an individual by the name of

1:12:28   12      Gareth Williams?

1:12:30   13          A.   I don't know him, no.

1:12:31   14          Q.   Do you know someone that goes by the name of

1:12:35   15      Pershing Cat?

1:12:36   16          A.   Who?

1:12:37   17          Q.   Pershing Cat, like General Pershing and then

1:12:42   18      cat, the animal?

1:12:44   19          A.   Not a Persian cat?      No.   Is that somebody's

1:12:50   20      name?

1:12:51   21          Q.   You don't know anyone that goes by that

1:12:54   22      moniker, correct?

1:12:55   23          A.   No.

1:12:55   24          Q.   What about an individual by the name of

1:12:57   25      David Reese, R-E-E-S-E?
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 72 72
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM           72                   April 2, 2020




1:13:00    1          A.   No.

1:13:04    2          Q.   Other than the two Bitcoin that you said that

1:13:06    3      you purchased - I think you said for under $5 - did you

1:13:10    4      ever have any ownership interest in any Bitcoin?

1:13:14    5          A.   No.

1:13:14    6          Q.   Did you have any ownership interest in any

1:13:17    7      company that Craig Wright or Dr. Wright was associated

1:13:19    8      with?

1:13:20    9          A.   No.

1:13:21   10          Q.   Did you have any ownership interest in any

1:13:25   11      intellectual property developed in whole or in part by

1:13:30   12      Dr. Craig Wright?

1:13:31   13          A.   No.   These are good, easy questions and I can

1:13:37   14      answer with certainly.

1:13:53   15          MR. BRENNER:     I'm almost done, sir.    Let's take a

1:14:12   16      five-minute break.

1:14:13   17          THE VIDEOGRAPHER:     Going off the record at

1:14:16   18      10:14 a.m. [sic]

1:14:18   19      (11:14 a.m.)

          20                              (Break taken.)

1:21:11   21      (11:21 a.m.)

1:21:11   22          THE VIDEOGRAPHER:     Going back on the record at

1:21:14   23      10:21 a.m. - 11:21 a.m.    Proceed.

1:21:17   24      BY MR. BRENNER:

1:21:20   25          Q.   Mr. Lynam, I'm going to just ask you a few more
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 73 73
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM            73                  April 2, 2020




1:21:23    1      questions and then we'll be done, okay?

1:21:25    2          A.     Okay.

1:21:25    3          Q.     Have you ever heard of a company called

1:21:29    4      W&K Information Defense Research?

1:21:30    5          A.     No.

1:21:32    6          Q.     Have you ever heard of any company that has the

1:21:34    7      name W&K in it - bad question.    Let me try it again.

1:21:43    8      Have you ever heard of a company called W&K Information

1:21:47    9      Defense?

1:21:47   10          A.     No.

1:21:48   11          Q.     Have you ever been employed by any company that

1:21:51   12      goes by the name W&K Information Defense or Information

1:21:57   13      Defense Research?

1:21:58   14          A.     No.

1:21:58   15          Q.     Have you got any ownership interest in any

1:22:01   16      company that goes by those names?

1:22:03   17          A.     No.

1:22:03   18          Q.     Have you ever been a director of any company

1:22:05   19      that goes by those names?

1:22:07   20          A.     No.

1:22:08   21          Q.     Have you ever been a director of a company

1:22:10   22      called Wright International Investments?

1:22:13   23          A.     No.

1:22:13   24          Q.     Have you ever been employed by a company called

1:22:16   25      Wright International Investments?
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 74 74
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM           74                   April 2, 2020




1:22:17    1          A.     No.

1:22:18    2          Q.     Have you ever had any ownership interest in a

1:22:20    3      company called Wright International Investments?

1:22:23    4          A.     No.

1:22:24    5          Q.     Have you ever heard of a company called

1:22:26    6      Information Defense Pty Ltd?

1:22:30    7          A.     No.

1:22:30    8          Q.     Have you ever had any ownership interest in

1:22:33    9      that company?

1:22:33   10          A.     No.

1:22:34   11          Q.     Have you ever been a director of that company?

1:22:36   12          A.     No.

1:22:37   13          Q.     Have you ever been employed by that company?

1:22:39   14          A.     No.

1:22:41   15          Q.     Have you ever - by the way, when you said you

1:22:44   16      were running a node, were you mining Bitcoin?

1:22:47   17          A.     No.   I actually have no idea how the mining is

1:22:52   18      done.    It was hands-off and it was all remotely

1:22:57   19      controlled by Craig or Satoshi.

1:23:00   20          Q.     That's what I thought you said.    You basically

1:23:02   21      had a computer - Dr. Wright sent you some software to

1:23:08   22      download and told you how to get it running and that was

1:23:10   23      your involvement?

1:23:11   24          A.     That was it.

1:23:13   25          MS. McGOVERN:      Object to the form of the question.
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 75 75
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM           75                   April 2, 2020




1:23:16    1      BY MR. BRENNER:

1:23:16    2          Q.   That was it, sir?

1:23:17    3          A.   That was it, that was my involvement, except I

1:23:21    4      had to keep monitoring it to make sure it was running,

1:23:23    5      which I did.

1:23:24    6          Q.   Okay.     And then you stopped that, I think you

1:23:24    7      said, in 2011 --

1:23:26    8          A.   2011.

1:23:28    9          Q.   Have you ever heard of a company called

1:23:30   10      Tulip Trading?

1:23:31   11          A.   No.

1:23:32   12          Q.   Have you ever had any ownership interest in

1:23:36   13      Tulip Trading?

1:23:37   14          A.   No.

1:23:38   15          Q.   Have you ever been employed by Tulip Trading?

1:23:40   16          A.   Can I stop you there --

1:23:41   17          Q.   Sure.

1:23:45   18          A.   -- and get clarification on the way I answer?

1:23:47   19      Have I ever heard of Tulip Trading?     Before the last week

1:23:56   20      or so, have I ever heard of Tulip Trading?      The answer

1:24:00   21      would be absolutely no.    But, as I said, I've been trying

1:24:04   22      to do some reading and I see Tulip Trust - I'm not sure

1:24:11   23      about Tulip Trading - but Tulip Trust, I'm sure it said

1:24:17   24      Tulip Trust - mentioned on the internet.

1:24:21   25          Q.   You did some internet research and you saw
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 76 76
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM           76                   April 2, 2020




1:24:23    1      something about Tulip Trust?

1:24:25    2          A.     I believe so, yes.

1:24:27    3          Q.     What did you see?

1:24:30    4          MS. McGOVERN:      Object to the form of the question.

1:24:31    5          THE DEPONENT:      There are reports on this court case

1:24:36    6      reported on blog pages on the internet.      There are a lot

1:24:40    7      of them.

1:24:41    8      BY MR. BRENNER:

1:24:42    9          Q.     Other than what you saw recently, in the last

1:24:44   10      week or so, when you were looking on the internet, you

1:24:46   11      had no involvement/ownership/affiliation at all with any

1:24:51   12      Tulip Trust or Tulip Trading?

1:24:54   13          A.     No.

1:24:55   14          Q.     It's not correct or --

1:24:56   15          A.     Yes, that's correct, that's correct, I did not

1:24:59   16      have any knowledge of or involvement in or interest in

1:25:03   17      anything at all that had Tulip Trust in it - I was nearly

1:25:10   18      going to say anything that said Tulip, but that would be

1:25:13   19      wrong, because I was a flower grower.

1:25:16   20          Q.     Not Tulip Trading either, correct?     The same

1:25:20   21      answer for Tulip Trading, correct?

1:25:23   22          A.     Yes, the same answer, and that answer was no.

1:25:26   23          Q.     Okay.   The answer is yes, it's correct, what I

1:25:29   24      said?

1:25:29   25          A.     Yes, it's correct.
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 77 77
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM           77                   April 2, 2020




1:25:31    1          Q.   Have you ever been in any business with

1:25:33    2      Dr. Wright?

1:25:34    3          A.   No.

1:25:35    4          Q.   Have you ever been in any business with

1:25:37    5      Lynn Wright?

1:25:37    6          A.   No.

1:25:39    7          Q.   You know who Lynn Wright is, don't you?

1:25:41    8          A.   Yes, his first wife.

1:25:43    9          Q.   And have you ever been in any business with

1:25:47   10      Dr. Wright's current wife, Ramona?

1:25:49   11          A.   No.

1:25:53   12          Q.   Do you know when in 2011 you stopped running

1:25:57   13      that node?

1:26:00   14          A.   I can't remember, but if I can generalize, I

1:26:06   15      believe it was reasonably early in 2011, because of other

1:26:12   16      things I did afterwards, so I would say it was early in

1:26:16   17      2011.

1:26:17   18          Q.   Okay.     And do you recall how many computers you

1:26:21   19      had running?

1:26:25   20          A.   How many computers I had running?

1:26:27   21          Q.   Yes.    During the nodes, how many machines were

1:26:30   22      you running?

1:26:31   23          A.   One.

1:26:32   24          Q.   Just one?

1:26:32   25          A.   That single Dell XPS computer.
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 78 78
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM           78                   April 2, 2020




1:26:37    1          Q.   Remind me what city were you living in then?

1:26:40    2          A.   I was living in Silvan, which is up in the

1:26:43    3      mountains outside of Melbourne.

1:26:45    4          Q.   Can you spell that?

1:26:47    5          A.   S-I-L-V-A-N.    It was on a farm.

1:26:55    6          Q.   Okay.     And were you --

1:26:59    7          A.   But we had lots of computers, though, because

1:27:02    8      it was a reasonable-sized business and we had several

1:27:07    9      accounting computers, we had a big Dell server system set

1:27:17   10      up with all - uninterruptable power supplies and so on,

1:27:21   11      but that wasn't in my home, that was up in the packing

1:27:25   12      sheds, and they weren't - those computers weren't owned

1:27:28   13      by me, they were owned by the business.

1:27:31   14          Q.   Which business?

1:27:33   15          A.   I just - it was a flower growing and marketing

1:27:36   16      business that I was involved in.

1:27:39   17          Q.   Was it your business?

1:27:42   18          A.   Yes, myself and my son.

1:27:43   19          Q.   Okay.     Did Dr. Wright have anything to do with

1:27:46   20      that business?

1:27:47   21          A.   No.

1:27:47   22          Q.   Or anything to do with those machines?

1:27:50   23          A.   No, not at all.     He did visit there and he did

1:27:54   24      stay with us.    Craig did visit and he did stay with us.

1:28:08   25      However, he had no interest whatsoever in any of those
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 79 79
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM             79                  April 2, 2020




1:28:11    1      machines, or in the business.

1:28:24    2          Q.      The only machine that Craig had an interest in

1:28:26    3      that you had up in that farm was the one Dell machine

1:28:35    4      that was running the node?

1:28:40    5          A.      Yes.    And let me clarify the term "interest".

1:28:45    6      He had no financial interest in that computer whatsoever,

1:28:49    7      it was mine, and his only interest was in the software

1:28:55    8      that he provided for me voluntarily to run on his behalf.

1:29:04    9          Q.      The last set of questions.    Have you ever heard

1:29:07   10      of an article called The Satoshi Affair?

1:29:18   11          A.      Was that the book that I purchased but was

1:29:21   12      never delivered last year because it was pulled by the

1:29:26   13      publisher?

1:29:28   14          Q.      I guess.    I couldn't know that, sir.   Is that

1:29:31   15      the book?    It was --

1:29:35   16          MS. McGOVERN:        I object to the form of the

1:29:36   17      question.

1:29:37   18      BY MR. BRENNER:

1:29:37   19          Q.      I withdraw it.   It was an article in the London

1:29:39   20      review of books called The Satoshi Affair.       Have you ever

1:29:44   21      read that?

1:29:45   22          A.      No.    Should I read it?   Should I find it?   The

1:29:52   23      Satoshi Affair?

1:29:52   24          Q.      That's up to you, sir.     Who's Lisa Edwards?

1:30:01   25          A.      Lisa Edwards?    She likes to be called Lisa H.
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 80 80
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM             80                 April 2, 2020




1:30:08    1      Edwards because there is another Lisa Edwards in the film

1:30:11    2      industry.     She's Craig's sister.   She is the next one

1:30:17    3      down in the tier.

1:30:19    4          Q.      So your niece?

1:30:20    5          A.      I'm her uncle as well.    Lisa, Danielle and

1:30:33    6      Kristen.

1:30:33    7          Q.      Did Lisa ever talk to you about the development

1:30:36    8      of Bitcoin?

1:30:46    9          A.      At family meetings - I'll have to answer with a

1:30:52   10      yes and no.    At family meetings we would talk about

1:30:55   11      Bitcoin and Craig, but it was just family chatter, about

1:31:03   12      how it was going.     She is quite wound up in it and so she

1:31:12   13      has lots of postings all the time.

1:31:16   14          Q.      What do you mean that she is wound up in it?

1:31:23   15          A.      She posts performance graphs and she does that

1:31:31   16      on one of the social media - Twitter.

1:31:38   17          Q.      Okay.   Was she involved in the development of

1:31:41   18      Bitcoin with her brother?

1:31:42   19          A.      I don't believe so, but - I don't believe she

1:31:44   20      is technical in any way, so I don't think that would be

1:31:47   21      possible.

1:31:49   22          Q.      Okay.

1:31:50   23          A.      She's an actress and an investor in Bitcoin.

1:31:53   24          Q.      She's an investor in Bitcoin?

1:31:55   25          A.      Yes.
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 81 81
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM           81                   April 2, 2020




1:31:56    1          Q.     What does that mean, she buys Bitcoin --

1:31:58    2          A.     Yes.

1:31:59    3          Q.     -- or is she an investor in it?    Is she --

1:32:01    4          A.     Not in the technology.    She trades Bitcoin.    I

1:32:07    5      haven't discussed that with her, but it is open to the

1:32:10    6      world because she posts on Twitter performance graphs and

1:32:20    7      she - I guess the word is "twits" with other people who

1:32:24    8      also trade on Bitcoin.

1:32:26    9          Q.     Okay.

1:32:27   10          A.     I've only been on Twitter for the last several

1:32:30   11      months.    Craig's mother suggested to me that I sign up to

1:32:38   12      Twitter so that I can follow some of what happens with

1:32:45   13      Craig and with his new enterprises with Bitcoin.

1:32:52   14          MR. BRENNER:     Sir, that's all the questions I have

1:32:54   15      for you.   Thank you so much for your time.

          16          THE DEPONENT:     Okay.

1:32:56   17          MR. BRENNER:     Ms. McGovern may have a few.

1:32:57   18          THE DEPONENT:     Okay.

1:32:57   19          MS. McGOVERN:     I have no questions.    Thank you so

1:33:00   20      much, Mr. Lynam.    I really appreciate your time today.

1:33:06   21          THE DEPONENT:     My pleasure.

          22          MR. BRENNER:     Madam Court Reporter, do you need

1:33:08   23      anything from us?    We can go off the record.

1:33:08   24          THE VIDEOGRAPHER:     Going off the record at

1:33:12   25      11:33 a.m.   End of tape 2.     End of videotaped deposition
   Case
 Case    9:18-cv-80176-BB Document
      9:18-cv-80176-BB     Document599-2
                                    582-2 Entered
                                          Entered on
                                                  on FLSD
                                                     FLSDDocket
                                                          Docket06/15/2020
                                                                 06/26/2020Page 82 82
                                                                             Page  of 84
                                                                                      of 84
               DONALD JOSEPH LYNAM           82                    April 2, 2020




1:33:16    1      of Don Lynam.    Total number of tapes, 2.

1:33:20    2                      (Deposition hearing concluded)

           3

           4

           5

           6

           7

           8

           9

          10

          11

          12

          13

          14

          15

          16

          17

          18

          19

          20

          21

          22

          23

          24

          25
  Case
Case    9:18-cv-80176-BB Document
     9:18-cv-80176-BB     Document599-2
                                   582-2 Entered
                                         Entered on
                                                 on FLSD
                                                    FLSDDocket
                                                         Docket06/15/2020
                                                                06/26/2020Page 83 83
                                                                            Page  of 84
                                                                                     of 84
          DONALD JOSEPH LYNAM              83                    April 2, 2020




      1                           CERTIFICATE OF WITNESS

      2
              I, Donald Joseph Lynam, hereby certify that I have read
      3       the foregoing pages of my deposition of testimony taken
              in these proceedings on April 2, 2020, and with the
      4       exception of the changes listed below and/or corrections,
              if any, find them to be a true and accurate transcription
      5       thereof.

      6

      7                                    ERRATA

      8       Page/Line No.        Description            Reason for Change

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23       Signed............................

     24

     25       Date..............................
  Case
Case    9:18-cv-80176-BB Document
     9:18-cv-80176-BB     Document599-2
                                   582-2 Entered
                                         Entered on
                                                 on FLSD
                                                    FLSDDocket
                                                         Docket06/15/2020
                                                                06/26/2020Page 84 84
                                                                            Page  of 84
                                                                                     of 84
          DONALD JOSEPH LYNAM              84                    April 2, 2020




      1                       CERTIFICATE OF COURT REPORTER

      2

      3       I, Karen Wilsmore of Epiq, hereby certify that the
              foregoing testimony was recorded by me stenographically
      4       and thereafter transcribed by me, and that the foregoing
              transcript is a true and accurate verbatim record of the
      5       said testimony, to the best of my skill and ability.

      6
              I further certify that I am not a relative, employee,
      7       counsel or otherwise financially involved with any of the
              parties of the within cause, nor am I an employee or
      8       relative of any counsel for the parties, nor am I in any
              way interested in the outcome of the within cause.
      9

     10

     11

     12

     13

     14
              Signed ................................
     15                                   Karen Wilsmore

     16

     17

     18       Date....................................

     19

     20

     21

     22

     23

     24

     25
